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Exhibit 3

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IN THE UNITED STATES DISTRICT COURT FOR THE
DISTRICT OF COLUMBIA

ee”

STATE OF SOUTH CAROLINA

Plaintiff, CIVIL ACTION NO:

Vv. 1:12-CV-203-CKK-BMK-JDB
THE UNITED STATES OF AMERICA
And ERIC H. HOLDER, JR. in his
Official capacity as Attorney General
Of the United States,

(Three Judge Court)

Defendants,
And
JAMES DUBOIS, e¢ al,

Defendant-Intervenors.

Nowe Ne ee Ne eee ee ee ne nee ne nee ee ee ae ne ne ee ne ee ee”

DECLARATION OF THEODORE S. ARRINGTON, PH.D.

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1. I am a recognized expert in the fields of voting processes, districting, reapportionment,
and racial and partisan voting patterns in the United States and Canada. I have practical experi-
ence in election administration, including detection of election fraud; and have been recognized
by a Federal Court as an expert in that area. I have been retained by the United States Depart-
ment of Justice to provide expert testimony in this case. 1am compensated for my time at the rate

of $250 per hour.

OBJECTIVES AND FINDINGS OF DECLARATION

2. I have been asked to determine whether the provisions of voting-related changes enacted
by the South Carolina General Assembly and signed into law by the Governor, as provided in
Section 5 of Act R54 (A27 H3003) (2011) were intentionally drawn to minimize, cancel out, or
reduce the ability of Minority (1.e., non-White) voters in South Carolina to participate equally in
the political process and elect representatives of their choice. This provision shall be called “pho-

to ID law” below.

3. Dr. Charles Haines Stewart III, Kenan Sahin Distinguished Professor of Political Science
at the Massachusetts Institute of Technology, has prepared a declaration on the effects of the
photo ID law. His methods are those I would have used if I had been asked to determine the ef-
fects of the proposed photo ID law. I have thoroughly reviewed his declaration, and agree with
his opinions based on his analysis of the data. His overall conclusion is that the effect of the law
bears more heavily on Minority citizens than on White citizens. First, he finds that Minorities are
more likely than Whites to lack a DMV-issued photo ID. Second, his analysis shows that Minori-

ties who lack a DMV photo ID have lower socio-economic status than Whites who lack a DMV

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photo ID, and the burden imposed by this requirement would be more onerous on those with low
socio-economic status than on those with higher incomes and more education. Third, he finds
that the provision that the ID issued by the Department of Motor Vehicles (DMV) must not be
expired or suspended has a large impact on the number of registered voters who lack a photo ID
that could be used for voting. This requirement, that the photo ID be current and not suspended,
increases the disparity between Minority and White voters. Dr. Stewart shows that these differ-
ences between the races are highly significant statistically, and that the data understate, rather
than overstate, the differences. He concludes that Minority voters bear a disproportionate burden

under the photo ID law.

4. It is my opinion that the photo ID law was enacted with a purpose of reducing the ability
of Minority citizens to vote. The South Carolina legislators who supported the photo ID law
knew that it would reduce the ability of citizens, who do not already have “current and valid pho-
to ID” (always as defined by the photo ID law and South Carolina’s planned implementation), to
vote. And they knew that Minority registered voters were more likely than White registered vot-
ers to lack such valid photo ID. The provisions of the law that are claimed to mitigate the “bur-
den” (South Carolina’s word in the Complaint, page 2) making it inconsequential, would not
have significant effect. Therefore, South Carolina’s claim that the burden is slight or trivial in
their Complaint (page 2) is incorrect. The claim that the law is intended to reduce the problem of
voter impersonation fraud at the polls is pretextual, as the evidence indicates that this is not a
problem, and certainly not a concern that outweighs the public interest in encouraging political
participation and making sure the right to vote is equally accessible to all adult citizens of South

Carolina.

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5. I neither claim nor deny that this intent is motivated by racial animus. As Judge Kozinski
wrote in Garza v. Los Angeles Board of Supervisors, 918 F.2d 763 (9" Cir. 1990), “[t]here can
be intentional discrimination without an invidious motive[,]” and “[y]our personal feelings to-
ward minorities don’t matter; what matters is that you intentionally took actions calculated to
[discriminate].” /d. at 779 n.1 (concurring in part and dissenting in part). The Republican leader-
ship in both houses of the South Carolina General Assembly could act with a disregard for the
known disparate impact the photo ID law would foreseeably have on Minority voters, since these
voters almost never vote for Republicans. But when partisanship leads, or at least allows, deci-
sion-makers to take an action that they know has a disproportionate negative impact on Minority

voters, it is evidence of intent to discriminate (/d. at 779).

CREDENTIALS

6. The full range of my professional qualifications and experience is described in my cur-
riculum vitae. That vita includes a complete listing of all publications authored by me, and all of
the voting rights cases in which I have testified by affidavit, report, deposition, or courtroom tes-
timony. I am Professor Emeritus of Political Science at The University of North Carolina at
Charlotte (UNC Charlotte). I received my Doctor of Philosophy degree from The University of
Arizona in 1973. I joined the UNC Charlotte faculty that year. I have taught both undergraduate
and graduate courses in topics such as research methodology, voting behavior, political parties,
interest groups, Congress, the Presidency, and Southern politics. I retired from the University in
July 2010. During my tenure at UNCC, I served as Chair of the Department of Political Science
for 18 years, and was elected President of the University Faculty. I was President of the North

Carolina Political Science Association in 2010-11. I have co-edited one book and coauthored two

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monographs, published 37 refereed articles, and delivered numerous papers in the last 40 years.
These works concern the effects of party and race on voting behavior and election administra-

tion.

7. For twelve years I was a member and for six years the chair of the Char-
lotte/Mecklenburg Board of Elections, the largest and most complicated county election office in
the Carolinas. During my tenure on the Board I attended annual training sessions provided by the
North Carolina State Board of Elections. These training sessions included instruction in the de-
tection and prevention of election fraud. A Federal Court recognized me as an expert on voting

fraud in United States v. Ike Brown, 494 F. Supp. 2d 440 (S.D. Miss. 2007).

8. My academic specialties have led to my retention as an expert witness in 41 lawsuits in-
volving voting rights. In 21 of these cases I have given trial testimony. In two of these cases I
was specifically asked to opine about the intent of policy makers. In 7exas v. United States, Civil
Action No: 1:11-cv-01303 (D.D.C.), I was retained by the U.S. Department of Justice to testify
about whether the Congressional and Texas House of Representatives redistricting plans submit-
ted to the court for pre-clearance under § 5 of the Voting Rights Act were intentionally drawn to

discriminate against Minority voters.

9. The second intent case is the /ke Brown case cited above. I was retained as an expert wit-
ness by the Department of Justice to examine whether there were fraudulent election practices in
Noxubee County, Mississippi that violated § 2 of the Voting Rights Act by intentionally denying
White citizens an equal opportunity to elect representatives of their choice and participate equal-
ly in the political process. I determined on the basis of public records, statistical evidence, inter-

views, newspaper analysis, study of depositions, and other sources that Mr. Ike Brown and others

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acted in collusion to violate Mississippi election laws and regulations with the intent to discrimi-
nate against White voters. Their activity did not include impersonation of properly registered
voters at the polls. Their methods did include manipulation of the absentee ballot processes and
providing unneeded and unwanted assistance to both absentee voters and in-person voters. As is
the case with virtually all established cases of election fraud, corruption of election officials was

necessary.

10. I was an expert witness retained by Republicans in redistricting litigation in both the 1990
and 2000 redistricting cycles in South Carolina, and I was retained to testify by the United States
in the Charleston County Commission § 2 case, challenging the dilutive aspects of the county’s
at-large election system. See United States v. Charleston County, 316 F. Supp. 2d 268 (D.S.C.
2003) aff'd 365 F.3d 241 (4" Cir. 2004). In all three cases I testified by affidavit, deposition, and

at trial.

STANDARDS FOR DETERMINING INTENT

11. The United States Supreme Court provides guidelines for courts in the kinds of evidence
that could be used to determine intent. As I understand it, the case that sets forth the guidelines
for determining intent is Village of Arlington Heights v. Metropolitan Housing Development
Corporation, 429 U.S. 252 (1977). The majority opinion in this case provides guidelines for the
circumstantial evidence that would be probative in determining whether a decision was motivat-
ed by discriminatory purpose or intent. In adopting its new procedures for the administration of
the reauthorized § 5 of the Voting Rights Act, the U.S. Department of Justice accepted Con-
gress’s invitation and included the analysis from Arlington Heights into its procedures. Section

51.57 of the department’s § 5 procedures, 28 C.F.R. Part 51, states that the department will con-

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sider the following factors in reviewing all types of voting changes:

(a) the extent to which a reasonable and legitimate justification for the change exists;

(b) the extent to which the jurisdiction followed objective guidelines and fair and conventional
procedures in adopting the change;

(c) the extent to which the jurisdiction afforded members of racial and language Minority groups
an opportunity to participate in the decision to make the change;

(d) the extent to which the jurisdiction took the concerns of members of racial and language Mi-
nority groups into account in making the change; and

(e) the factors set forth in Arlington Heights:

(1) whether the impact of the official action bears more heavily on one race than another;
(2) the historical background of the decision;

(3) the specific sequence of events leading up to the decision;

(4) whether there are departures from the normal procedural sequence;

(5) whether there are substantive departures from the normal factors considered; and

(6) the legislative or administrative history, including contemporaneous statements made by the
decision makers.

12. Governmental actions that have a discriminatory effect on a Minority group have often
been defended with the argument that the discriminatory effect is merely an incidental result of
an otherwise legitimate and racially neutral purpose, such as preventing vote fraud. However, the
application of the Arlington Heights standard to a § 5 analysis means that the party objecting to
preclearance is not required to prove that racial discrimination was the sole, primary, or
dominant motivation behind a law that adversely affects a Minority group. As I understand it, a
court may find that a policy with a clearly foreseeable and significant adverse effect on a
Minority population was enacted with discriminatory intent even if that adverse effect results

from the application of an otherwise neutral state policy.

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13. In Reno v. Bossier Parish School Board, 528 U.S. 320 (2000), the Supreme Court set
forth a stringent version of discriminatory intent in § 5 cases — “intent to retrogress.” But when
Congress revised the language of § 5 in 2006, it made clear that the purpose standard intended

was “any discriminatory purpose.”

14. Political scientists, historians, other social scientists, and legal scholars have written
about the application of the Arlington Heights and Equal Protection clause standards to deter-
mine intent in voting rights and other discrimination litigation. A selection of some of the most
important of these articles and books is at the end of this declaration. Also at the end are the bib-
liographic entries for other social science references that are cited in text by author and date, as is
standard in Political Science. In determining intent of a legislature, one reviews the process that
led to the adoption of the law and how it might be implemented with the use of depositions,
newspapers, official minutes, and other records. The effect of the law is, of course, a critical
piece of evidence. This scholarship indicates that one can only examine what individuals wrote,
said, and did, not what they were thinking. See Washington v. Davis 426 U.S. 242 (1976) and
Garza, 918 F.2d at 779. But one can determine what the legislators knew and would logically
foresee on the basis of evidence presented to them during the multi-year debate over the photo

ID law. This is often called “foreseeability.”

15. Institutional intention, the sum of a series of decisions by different officials, can also be
examined under the Arlington Heights standard. Not all legislators need to have acted with dis-
criminatory intent, just enough to make the difference. The photo ID law was passed on a party-
line vote with virtually all Republicans in favor and all Democrats (including all the Minority,
i.e., Black or African American, members) opposed. So the intent at issue in this case would be

that of the proponents of the photo ID law.

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16. In determining intent, direct evidence would be statements of intent by policy makers in
situations where candid rather than artful comments would be expected. Especially when expect-
ing litigation, policy makers might be cautious in their public commentary, which would then be
an unreliable guide to motive. Circumstantial evidence would be things like the sequence of
events or alternatives that are rejected or accepted as the bill progressed through the legislative
process. Discriminatory purpose may be “inferred” indirectly from the totality of the relevant
facts, including the fact, if it is true, that the law bears more heavily on one race than on another.
According to the 1982 Report on the Reauthorization of the Voting Rights Act by Congress, one
may rely on: “direct and indirect circumstantial evidence, including the normal inferences to be
drawn from the foreseeability of defendant’s actions” (S. Rep. No.417, 97" Cong, 2"! Sess. 27

(1982) p. 27 n. 108.)

17. Kousser (1991') lists elements that are of particular importance in intent cases involving

retrogression analysis. Here are some that might apply to this case:

1. Often the possible effects of policy maker’s actions are common knowledge or just
logical results. These common knowledge effects are “keys” to what decision makers
know and foresee.

2. The historical context of the decision (e.g., a history of discrimination) is always
important in understanding the intent of policy makers.

3. Another important consideration is the personal backgrounds of key decision makers.
Who or what do they campaign for or against? Who do they appoint for office?

4. Direct statements of racial animus or desire to discriminate would be an indicator of
intent. But attribution of motive by statements of decision makers after the fact may
involve attempts to cover up actual intent.

5. A history of state policies and formal and informal rules is another guide to intent. Do
the rules differ across the state or over time? Is there assurance that the implementation of
the law at the local level would be non-discriminatory? What discretion do local
decision-makers have and who are they?

1 References to academic sources are found at the back of the declaration listed in alphabetical
order by author and year.

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18. | When examining the question of intent, one should determine whether there is another
reasonable and complete explanation other than discrimination for the law. If there are other pos-
sible rationales, one must weigh the importance of them. Does the non-discriminatory explana-
tion outweigh the discriminatory effect? Were there non-discriminatory alternatives reasonably
available? All explanations, not just racial ones, must be examined. What explanation has the
best surviving evidence? Motives may be intertwined, but if race is part of the mix, that is highly
relevant evidence of racially discriminatory intent (see Arlington Heights, 429 U.S. at 265-66,

and Garza, 918 F. 2d at 779 (Kozinski, J., concurring and dissenting in part)).

SOURCES OF DATA

19. All of the data for this declaration are in the possession of South Carolina or readily
available in public sources such as the internet or Westlaw. Here is a listing of the sources on
which I rely. The first is the declaration of Dr. Stewart. I studied the text of the law itself and
other evidence provided by South Carolina in its submission to the Department of Justice, and
the other formal documents exchanged between the U.S. Attorney General, South Carolina, the
Defendant Interveners, and the court. I also studied the materials in the administrative preclear-
ance file relating to Act R54 that was produced in discovery by the Department of Justice. At my
direction, the Department of Justice assembled all of the media reports related to the legislative

consideration of the photo ID (see Appendix A for search criteria).

20. I studied various records on the General Assembly debate on the photo ID bill in the
2010-11 session and, to a lesser extent, previous sessions. This includes the formal records, in-
cluding recorded votes, and the race and party of the Representatives and Senators. Because

there is no formal written transcript of the House and Senate sessions and the conference com-

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mittee, I studied transcriptions provided by the Defendant Interveners made from video record-
ings. I also had access to those recordings. Because these transcriptions are not a formal or offi-
cial record, I will not quote from them. I will use the formal record (House and Senate Journals)
to check for the accuracy of the sense of the debate gained from the transcripts, and will cite and

quote from the Journals.

21. Additionally I examined a collection of emails provided by Representative Alan Clem-
mons, the primary sponsor of the photo ID bill in the House, and documents that were in the pos-
session of Senator George Campsen, the primary sponsor of the photo ID bill in the Senate. I will
also rely on depositions taken for this case cited in text, several of which are rough rather than
final transcripts because the final versions were not available as of the deadline for completion of
this declaration. Finally, I have also relied on U.S. Census documents available on-line, and var-

ious court decisions and Department of Justice documents and other sources cited below.

THE BENCHMARK AND THE PROPOSED PHOTO ID LAW

22. The benchmark voter ID law in South Carolina is one of the toughest in the country in
terms of the limited kinds of identification documents that are allowed for voting (see the Na-
tional Conference of State Legislatures comparison at http:www.ncsl.org/legislatures-
elections/elections/voter-id.aspx). Only a few states, such as Mississippi, Rhode Island, and Ten-
nessee seem to be as tough as South Carolina. Eighteen states do not require any ID for voting.
The requirements of the other 32 states vary widely. But almost all have a longer list of permis-
sible documents than South Carolina. Florida, Indiana, and Georgia are tougher in the sense that
their laws require a photo ID, but these states have a longer list of possible IDs that could be used

for voting than does the benchmark South Carolina law. Under the benchmark law, the voter

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must present one of these at the polling place: voter registration certificate issued by the Election
Commission that does not currently have a photo, South Carolina photo driver’s license, or DMV
photo ID card. All of these include a signature of the voter that can be matched to the signature

the voter places in the poll book.

23. Under the photo ID law the voter must present one of these which is “valid and current”:
a revised voter registration certificate with a photo, South Carolina driver’s license, South Caro-
lina Department of Motor Vehicles photo ID card, U.S. passport, or military identification con-
taining a photograph issued by the federal government. According to the photo ID law, the ad-
dress on the photo identification is not determinative of an elector’s domicile for the purposes of
voting. The photo ID law also provides a provisional ballot for voters who cannot provide a valid
and current photo ID or when the poll managers dispute that the photo is of the person presenting
him or herself to vote. Provisional ballots can be obtained by those who have a religious objec-
tion to being photographed and for voters who have a “reasonable impediment that prevents the
elector from obtaining a photograph identification.” Uncertainties in the application of the law

are discussed below.

24. The essence of the change in the proposed law is that all voters must have one of the
specified photo IDs in order to vote with certain limited exceptions. The questions then become:
1) to what extent are Minority voters more likely than Whites to lack one of the photo IDs speci-
fied in the law?, 2) if Minorities are less likely to have the required photo ID, to what extent does
the requirement place a significant burden on their ability to vote?, 3) to what extent do other
provisions in the law ameliorate or cancel out any burden the photo ID provision places dispro-

portionately on Minority voters?, and 4) if the law places a disproportionate burden on Minority

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voters, was it enacted with that purpose or intent?

EFFECTS TEST SHOWS THAT PHOTO ID WOULD
BEAR MORE HEAVILY ON MINORITY VOTERS

25. The first Arlington Heights factor is whether the impact of the official action bears more
heavily on one race than another. Dr. Stewart’s analysis shows that the photo ID law bears more
heavily on Minorities in South Carolina than Whites. Several summary statistics from Dr. Stew-
art’s declaration are reproduced in Table 1 (tables are placed at the end of this declaration). His
data show that Minority registered voters are more likely to lack a current and valid driver’s li-
cense or DMV ID card than are White voters. Although Blacks are 28% of the registered voters,
they are 40% of the registered voters who did not “match” with current and valid (as defined by
the photo ID law) DMV records. The probability of a White voter not having a valid DMV
match is 5.5%, while the probability of a Black voter not having one is 9.5%. Other Minority
group members have similarly higher rates of non-match than do White voters. Dr. Stewart

shows that these differences between the races are statistically significant.

26. Dr. Stewart’s data and analysis demonstrate that the words “current and valid” make a
large difference in the application of the photo ID law. Indiana and Georgia photo ID laws do not
require that all drivers’ licenses be current if used for voting. In Indiana, an expired license is
acceptable for voting providing that the license expired after the previous general election, while
a suspended license is still acceptable. Georgia even allows non-Georgia licenses to be used for
voting if they are not expired. Dr. Stewart’s data reproduced in part in Table 1 show that regard-
less of the current and valid provision, Minority voters are less likely to have an ID from the

DMV records than are Whites. But the number of non-matches triples because of the current and

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valid rule. The number of non-matches between the voter rolls and all DMV ID cards is 62,890,
but the number of non-matches with only unexpired and unsuspended DMV ID cards is 173,250.
Similarly, every racial or ethnic group has a much larger number of non-matches if only current
and valid photo ID is matched. For example, 26,035 Black voters have no match if all DMV ID
records are matched, but 69,283 Black voters have no match if only current and valid DMV rec-
ords are matched. Furthermore, the disparity between Minorities and Whites is increased in the
non-match data that matches only unexpired and unsuspended DMV ID cards. Dr. Stewart’s data
show a non-match from both sets of data for those individuals who have surrendered their li-

cense, since they would then not have that license to present at the polls under either set of rules.

27. The other forms of valid photo ID in the proposed law probably do not significantly ex-
pand the number of registered voters with a current and valid photo ID. According to Defense
Manpower Data Center Department of Defense statistics from 2008, 25.4% of active duty mili-

tary personnel were Minorities — 17.8% were Black (see www.deomi.org/home/saveCountFiles.

cfm? fileid=332). This figure (17.8%) is less than the proportion of Black registered voters in
South Carolina (28%). All Minorities registered to vote in South Carolina constitute 30.5% of the
voters. Assuming that the racial breakdown of military personnel in South Carolina is roughly
similar to that of the military overall, the inclusion of military IDs to vote might increase the dis-
parity between the proportion of Minorities and Whites who lack valid photo ID. I have no data
on those who possess a passport. It is possible that additional data will be presented in this case
that would help to determine the extent to which these other permissible IDs expand the number
of registered voters who possess at least one of the kinds of ID required under the photo ID law,
and whether the inclusion of these other forms of ID narrows or increases the disparity between

Minorities and Whites. In his deposition (8 June 2012, p. 122-124), Chris Whitmire, Director of

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Public Information and Training for the SEC, testified that he is uncertain what kinds of military
ID are covered under the new law, what these IDs look like, and how to train poll managers to
recognize them. Similar confusion over military IDs is expressed in depositions of legislative
proponents of the photo ID law (Senator Larry Martin13 June 2012, pp. 103-4, rough transcript;
Senator Harvey Peeler, Jr., Senate Majority Leader, 13 June 2012, pp. 47 and 98, rough tran-
script; Representative Robert W. Harrell, Speaker of the House, 13 June, pp. 169-70, rough tran-

script).

PHOTO ID REQUIREMENT CAN SUPPRESS VOTING

28. Erecting barriers to voting, even barriers that many would consider minor, can result in
vote suppression because the “payoff” for voting is so slight. This is expressed in classic political
science by the formula: PB + D > C (see Riker and Ordeshook 1970, from a basic idea of Downs
1957). PB means the probability of the candidate or party you prefer winning. So if the voter
perceives that the vote will be close (P) the value of PB is greater. But major elections are not
won by one vote — not even the Florida election for President in 2000. So PB always approaches
zero. D stands for “duty” and simply refers to the fact that people want to vote to “do their civic
duty” or to “do one for the team” (party or candidate of choice). In effect D substitutes for PB,
for even in a close election the value of the team winning (B) must be high in order for PB to be
meaningful. C is the cost of voting. The equation simply tells us that the effort and expenditure
the voter has to make to cast a ballot (C) has to be less than the value of civic duty and party or

candidate loyalty (D), or the individual will not cast a ballot.

29. Civic duty and party/candidate attachment are not strong for most people. Only in presi-

dential elections do as many as about two-thirds of eligible voters cast a ballot, non-presidential

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elections have typical turnout of 40%, while primaries and local elections sometimes have turn-
out in the single digits. Any introductory textbook in electoral behavior confirms these facts, and
South Carolina is not an exception. In the 2008 elections 1,920,969 people voted in South Caro-

lina (58.6% of the eligible)(http://elections.gmu.edu/preliminary_vote_2008.html). In the 2010

elections 1,365,480 people voted (40.3%) http://elections.gmu.edu/Turnout_2010G. html). Also
see the classic books on Southern politics by Merle and Earl Black (1987 and 2003) for more on

voter turnout in the South generally and South Carolina particularly.

30. Dr. Stewart’s analysis shows that Minorities are more likely than Whites to lack a photo
ID from the DMV, and that those Minorities who lack such IDs are more likely to have lower
socio-economic status than Whites who lack a DMV-issued ID. As Dr. Stewart points out, the
cost of political participation, even voting, is greater for those with lower socio-economic status.
There are few findings in social science that have been more studied, confirmed, and less disput-
ed than the difficulty that the poor and little educated have in participating politically. Minorities
in South Carolina would fall into this category more often than Whites. For a discussion of the
effects of socioeconomic status on voting see Wolfinger and Rosenstone (1980), Verba and Nie
(1972), and Gurin, Hatchett and Jackson (1989). For a broader international perspective see
Verba, Nie, and Kim (1978). Table 2 presents U.S. Census data from the American Community
Survey comparing the socio-economic status of Whites and Blacks in South Carolina as of 2010.
I have restricted the table to Whites and Blacks because the South Carolina Election Commission
definition of race and ethnicity is not the same as the U.S. Census definition. While four percent
of households headed by a White lack a vehicle available to the household, 15.3% of households

headed by a Black do not have a vehicle. From this we can conclude that Blacks will be more

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likely than Whites to have difficulty getting to the county election commission office (EC’) to

obtain a photo ID: they are more likely to have no license or vehicle.

31. The other rows in Table 2 compare the usual measures of socio-economic status between
Whites and Blacks. Blacks are more than twice as likely as Whites to live in a household with
income below the poverty level. The poverty rate for Blacks is 28.4%, while for Whites it is only
11.1%. The median household income of Whites ($51,141) is much greater than that of Blacks
($28,970). Educational attainment is perhaps the most important determinant of political partici-
pation. About three-quarters of Black adults (75.7%) have completed high school (or the equiva-
lent), but not quite 13% have a college degree. On the other hand, 86.2% of Whites have a high

school diploma, and 27.9% have a college degree.

32. A recent example of the impact of seemingly minor voting changes on political participa-
tion is Brady and McNulty (2011). Their research shows that just changing the voting place de-
presses voter turnout. Moreover, the decline is not consistent for all groups with young people
and the poor (1.¢., in large part racial Minorities) most affected. Brady and McNulty did not find
that travel distance to the polls was a big problem, but that “search costs” were the main culprit.
By this they mean that voters were uncertain of where to go to vote because of the change. Even
the seemingly minor inconvenience of finding out where to go and then finding the location will
be enough additional cost to depress turnout especially for poor and young voters. For a more
general analysis of the extent to which increasing the costs slightly will depress turnout see

McNulty, Dowling, and Ariotti (2009).

2 | will use the acronym “EC” to refer to the county election commissions, board of registration and election and the
board of canvassers, as these terms seem to vary. I will refer to the South Carolina State Election Commission as
“SEC.”

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33. — It follows that voter turnout is sensitive to raising the cost of voting even slightly. Asking
registered voters to make a trip to the county seat to find the DMV or county election and regis-
tration office is a substantial cost to individuals who do not have ready transportation. These ad-
ditional costs will not be imposed on those who drive, cash checks, ride on airplanes, travel in-
ternationally, and military families. It will, however, be imposed on those who live aside from
the world of legal requirements for a photo ID. And these individuals are more likely to be Mi-

nority.

34. It is difficult for those who use photo ID every day for a multitude of tasks to realize that
there is another world, where people live without having to confirm identity with a photo ID. But
such people do exist, and evidently may be 173,000 strong in South Carolina. Such individuals
include those who are poor, little educated, often elderly, and more often Minority. What would
seem to be a minor cost to those who live in a world of constant security scans, can be a major

burden to those who live in this other world.

35, Some registered voters, who do not have one of the kinds of ID specified in the photo ID
law, are not part of this other world. For example, “snowbirds” — wealthy, typically White retir-
ees who have maintained a driver’s license or other ID from another state where they might
spend part of the year. For these individuals the law may be a mere minor inconvenience. Stew-
art’s analysis shows that Whites who lack a DMV ID have higher socio-economic status than
Minorities who lack such an ID. His analysis also shows that concentrations of Whites without a
DMV ID are mostly in higher income areas such as resorts along the coast and around lakes in
the upstate region. Minority voters who lack a DMV ID are more concentrated in the intercoastal

plain, a band through the middle of the state were poverty is concentrated, and in places such as

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Sumter and Orangeburg, where historically Black colleges and universities are located.

36. South Carolina’s claim that the burden imposed on those who do not have a valid photo
ID is a “temporary inconvenience no greater than the inconvenience inherent in voting itself”
(Complaint, p. 2) is not true for those who really are part of this other world. Many in this latter
group are Minorities. In the first place, it is an additional cost not borne by others. In the second
place, as demonstrated with the data analysis above, this is a more substantial burden for those
from this other world than for those who live in the world in which a photo ID is part of every-
day life. The mere fact that those in this other world don’t need a photo ID for other activities
tells us about their lifestyle and the extent of the cost of voting this law places on them. And in

the third place, even a seemingly minor inconvenience can suppress voter turnout.

PROCESS DID NOT SUFFICIENTLY TAKE
CONCERNS OF MINORITIES INTO ACCOUNT

37. For intent analysis, it is important to note that the Republican majority in the General As-
sembly knew the approximate size of this other world and that it was more likely to be inhabited
by Minorities. Marci Andino, Executive Director of the State Election Commission (SEC), pre-
pared a report to determine the extent that registered voters do not match with DMV records and
therefore likely would not have a current and valid photo ID (“Andino report’). She uses the
word “disenfranchised” to describe those without a photo ID match (see Andino deposition 7
June 2012, p. 69). Mr. Chris Whitmire in his deposition (8 June 2012 p. 29) indicates that the
report was prepared at the request of Ken Harris, senior minority researcher for the Senate. The
report was sent by email directly to members of the House Judiciary Committee: Representatives

Clemmons, Sellers, Horne, Nanney, and Allen on 26 January 2010. The email included the re-

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port as an attachment: “VoterRegistrationVersesDriversLicense.pdf.” Heather Anderson, a Sen-
ate Judiciary Committee staff member, sent the same data to all members of the Senate on 22
January 2010 and 25 January 2010. The data in the third email was different from the other two
only in that 17 year olds were deleted from the analysis by age. Some legislators who were pro-
ponents of the photo ID law remember seeing one of the reports or hearing of them in the debates
or in the media (see Senator Peeler deposition, p. 93; Harrell deposition, pp. 98-9; Representative
Philip Lowe, co-sponsor of the law in the Judiciary Committee, 15 June 2012, p. 69 rough tran-

script; Lt. Governor Glenn McConnell, deposition 14 June 2012, p. 91 rough transcript).

38. The statistics in this report are similar to those derived from Dr. Stewart’s more complete
and current analysis. The Andino report shows the number of “non-matches” by county, age, and
race. The total number of non-matches is 178,175 — a figure that is quoted frequently in the de-
bates in both the House and the Senate and in emails during the debate in 2011. The Andino re-
port shows 114,419 registered Whites have no matching DMV ID (6.0% of the registered
Whites), while 63,756 Blacks (8.3%) have no match. The comparable figures from Dr. Stewart’s
declaration (see Table 1) are: total non-matches of 173,250; 98,113 Whites (5.5%); and 69,283

Blacks (9.5%).

39. | No onein the General Assembly debates argued that the numbers given in the Andino
report were in error, although some proponents claim that such racial disparity in the impact of
the law would not matter (see Martin deposition, pp. 67-8, 76-8; Lowe deposition, pp. 66, 69,
105; McConnell deposition, pp. 52, 91). Moreover, the members of the General Assembly are
experienced politicians. They know the state, and they could not reasonably fail to know that this

other world exists, and that Minorities are more likely to inhabit it. They know basic socio-

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political facts of life in South Carolina. If they had any doubt, the Black members of both the
House and Senate made them fully aware of this other world and the facts generated by the

Andino report were statistical proof from the South Carolina government.

40. — Both the House and the Senate passed a version of photo ID in 2010. The Senate com-
bined a provision to establish early voting as part of the photo ID bill, but the House was op-
posed to early voting. Early voting is a provision that allows any registered voter to cast their
ballot in person before the day of the election in one or more sites in each county. Democrats in
both houses favored an early voting provision as did most Republicans in the Senate. The two
houses were not able to work out the differences before the mandated end of the session, and the
bills died. It is possible to blame a filibuster in the Senate led by Democrats (especially Senator
C. Bradley Hutto) who “ran out the clock.” But it is more complicated than that. Republicans in
the Senate had enough votes to overcome the filibuster. Four Republican senators joined all the
Democrats in preventing the bill from coming to a vote (Alan Clemmons deposition, 11 June
2012, p. 167). The bill could have been taken up again when the General Assembly returned to
consider the Governor’s vetoes, but this would have required the House to pass the Senate ver-
sion with early voting included, and they refused (see the series of emails to and from Repre-
sentative Clemmons 17-18 June 2010, SC_00000633-636). Differences of opinion among the
Republicans — especially differences between Senate and House Republicans on early voting —
were responsible for the loss. There were simply not enough Democratic members to make a dif-
ference unless the Republicans were divided. In 2010 they were not divided on the question of
requiring a photo ID to vote, but were divided on other questions (mainly early voting). The
Democrats, including all the Blacks except the one Black Republican then in the General As-

sembly, were opposed to the photo ID bill in the 2009-10 legislative session.

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Al. The Republicans returned in 2011, with strengthened delegations in both houses as a re-
sult of the 2010 elections, determined to pass a photo ID bill. Representative Clemmons states
many times in his emails that the bill must be “clean” in order to pass. That is, he had to avoid
extraneous provisions (especially early voting) and just address photo ID (see for example, email
from Alan Clemmons to Ralph Panzrino and Lee Frye, 7 April 2011, SC_00000914-915). The
differences between the houses and among the Republican majority were the same as in 2010,
but the Republican leadership in the House (led by Representative Clemmons) pursued a strategy

to avoid the problems of the previous session.

42. A time line for the adoption of the photo ID law in 2011-2012 is in Appendix B. Two as-
pects of traditions and rules affected the process of adoption of the photo ID law. The first tradi-
tion is that when both houses are considering the same subject, the body that passes the bill first
gets a tactical advantage (see Patrick Dennis, Chief Counsel of the House Judiciary Committee,
deposition 4 June 2012, p. 47), because that house will have the last chance to amend the bill be-
fore it goes to a conference committee. The House passed its version of the photo ID bill (H
3003) on 26 January 2011. The bill then “crossed over” to the Senate and became, by tradition,
the basis for their debate and amendments. The Senate passed their version of H 3003, with an
expanded list of acceptable photo ID and the addition of early voting, on 24 February. The bill
then crossed back over to the House, giving them a chance to amend the bill knowing what the
Senate preferred. The House essentially re-passed their original version of H 3003 sending it
back to the Senate, stripped of virtually everything the Senate had added. But the rules restrict
the Senate at that point to either accepting the House version or rejecting it (to “non-concur’).
The Senate could not amend the bill at this point, and chose to non-concur on 13 April sending

the bill to a conference committee.

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43. The second rule that affected the outcome 1s that both houses did not give the conference
committee “free conference powers” (see Dennis deposition, p. 53). Therefore, the conference
was restricted to provisions that were in one version of the bill or another. They could not craft
compromises on specific provisions, such as early voting or the IDs that would be acceptable.
The House passed the conference report, essentially the House bill with minor fixes (McConnell
deposition, pp. 141, 202; Dennis deposition, p. 52), on 26 April, and the Senate followed on 11

May.

44. The debate rhetoric in both houses, in the media, in communications to the Department of
Justice, and in emails sent to Representative Clemmons is consistent. Both sides have talking
points, and there is little deviation from them. The remarks of Representative Bakari Sellers (a
Black Democrat) in the House Journal (26 January 2011, pp. 21-3) are an example of the major
arguments against the photo ID bill. Essentially the opponents argue that the law is: 1) unneces-
sary because there is no evidence of impersonation vote fraud; 2) expensive in a time of budget
constraints; and 3) intended to suppress the Minority vote. Representative Sellers cites the num-
ber of registered voters that do not match with DMV identification found in the Andino Report

as an illustration of the report as part of the debate.

45. The speeches in favor of the bill are captured in the remarks of Senator George Campsen
(a White Republican) in the Journal for 24 February 2012 (pp. 10-12). The arguments are pre-
cisely the reverse of those offered by the opponents. There are several things to notice in the ar-
guments for the bill. The argument is that having a photo ID is so accepted in the general popula-
tion that it would not be a substantial burden on anyone, despite the known fact (from the Andino

report) that perhaps 178,000 South Carolina voters did not have a photo ID. Nor is there any at-

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tempt to deny that the burden — whatever it might be — weighs more heavily on Minority voters
than on Whites as the Andino report demonstrated. Other provisions in the bill supporters claim
to mitigate whatever burden there may be. The emphasis is on the importance of preventing
fraud. The cases cited, however, tend to be largely irrelevant to the incidence and prevention of
voter impersonation fraud in South Carolina. The cited events come mostly from other states,
and the few South Carolina cases didn’t involve impersonation fraud. Indeed, the proponents of
the photo ID bill could not deny the assertion of the photo ID bill’s opponents that there were no
established cases of impersonation vote fraud in the state. The General Assembly legislated on a
nonexistent problem, while ignoring the consequences of requiring a photo ID on the political

participation of Minority voters.

46. Last of all, the pro photo ID arguments emphasize the similarity of the photo ID law to
the laws in Indiana and Georgia. But the list of IDs that can be used in the South Carolina photo
ID law is more restrictive than in these other states. The Indiana and Georgia law are also differ-
ent from the proposed law in whether expired and suspended driver’s licenses can be used in

some cases.

47. The debates in the two houses in 2011 were very different, as reflected in the voting pat-
terns presented in Tables 3 and 4, and in the differences in the House and Senate versions of the
bill (see Appendix C for Lt. Governor Glenn McConnell’s discussion of the differences when he
was still President Pro-Tem of the Senate). In the House, the Republican majority was disci-
plined and the Democratic Minority (including all the Black Representatives) ignored. There
were no efforts to build a compromise even on minor matters and provisions that did not involve

photo ID. As Table 3 shows, except for the vote to table Amendment 2, the Democrats — espe-

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cially the Black Democrats — almost never joined the Republican majority. Twelve Black Demo-
crats voted with the Republicans to table Amendment 2, which would have expanded the kinds
of photo ID that would be acceptable for voting to include employee identification for state and
local governments, but not student ID. The Black representatives may have been casting a strate-
gic vote, reasoning that this change would make the bill more acceptable to the Senate and per-
haps to the Justice Department or Federal Courts for preclearance. In any case, their twelve votes
were not needed to table the amendment, because the votes of the Republicans alone were suffi-

cient.

48. The greater degree of compromise in the Senate is reflected in the extent to which Demo-
crats, including all the Blacks, joined the Republicans on several amendments, mostly on issues
other than photo ID (see Table 4). The Senate agreed (amendment P4) to exempt the elderly
from the photo ID requirement. The version of the photo ID bill, as it came from the Senate Judi-
ciary Committee, contained provisions for Federal, State, and Local government employee ID to
be used for voting. This provision might have narrowed the gap between White and Minority
voters who do not have a photo ID, because the government workforce includes a higher propor-
tion of Minorities than voter registration, which is only 28% Black. Demographics of federal and
state employees for the Public Administration sector in South Carolina from the U.S. Census
American Community Survey for 2010 shows 97,219, of whom 64,486 (66.3%) were White
alone and 31,026 (31.9%) were any part Black. This includes most government services, other
than schools and health. The South Carolina Workforce Plan for 2009 shows that 38.7% of SC
state employees were Black, and 59.4% were White, as of 30 September 2009

(www.ohr.sc.gov/OHR/wfplan/209-SC-OHR Work forePlan.pdf).

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49. The Senate Republican majority, however, was unwilling to match the requirements in
the Indiana and Georgia laws with regard to student ID as amendment P1 was defeated 27 to 13
with only one White Democrat opposing the amendment. There are 62 colleges and universities

in Georgia that have ID cards that can be used for voting in that state (see http://www.sos.ga.gov/

ElectionConnection/acrobat/Photo%20ID%20%20Acceptable%o20Student%20ID%20Cards
%20V%202%202010.pdf). The Indiana law is a bit more complex, as the public college or uni-
versity IDs must conform to three criteria: have a photo; student name that matches the voter
rolls; and an expiration date. It is not clear which state school IDs meet those criteria. There are
eight historically Black colleges and universities (HBCU) in Georgia, three of them are on the
list of 62 colleges and universities that have IDs that can be used to vote. Indiana has no HBCUs,
but South Carolina has eight, two that are public: Denmark Technical Institute and South Caroli-

na State University (http://www.collegescholarships.com/historically_ black colleges

_universities.htm).

50. On 19 October 2011, the Associated Press published an article by Jim Davenport that in-
dicated the photo ID law “appears to be hitting Minority precincts the hardest.” The thrust of the
article is clearly on the disparate impact the law would have on Minorities, not just college stu-
dents. The article points out the counties where there are concentrations of voters who do not
have a matching record in the DMV office. It also points out the precincts that include Benedict
College and South Carolina State University. Both of these precincts have large numbers of reg-
istered voters — presumably students — with no DMV match. In both cases the un-matched voters

are almost all Minorities.

51. Wesley Donehue is the CEO of Donehue Direct and bills himself as a “political strate-

gist” for the South Carolina Senate Republican Caucus. During the debates on the photo ID law

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Representative Clemmons communicated frequently with Mr. Donehue by email. These emails
also indicate he was involved in arranging and participating in meetings on the bill. Donehue al-
so claims to have been involved in planning the strategy to pass the photo ID law (see Ryan J.
Reilly, “S.C. GOP Operative: AP Story Showing Impact of Voter ID on Blacks ‘Proves EX-

ACTLY Why Law is Needed,’”

http://t~pmmuckraker.talkingpointsmemo.com/2011/10/sc_gop_operative
_ap_story_showing impact of voter id_on_blacks proves exactly why_law is needed.php,
last retrieved 17 June 2012). In a posting on Twitter, Mr. Donehue said that the Davenport AP
article “proves EXACTLY why we need Voter ID in SC,” and that the story “has proven that a
bunch of non-South Carolinians are voting in SC elections. Did they vote in other states too??

FRAUD!” (emphasis in original as quoted by TPM).

52. Students can claim their college or university address as their domicile. Mr. Donehue’s
Twitter postings provided no evidence that these students also voted absentee in the state of their
parents or their former home. The SEC has looked into these kinds of allegations and found no
evidence of fraud (see Andino deposition, p. 194-5). Nor would the photo ID law prevent the
kind of fraud he claims is rampant among these students, since he is not accusing them of engag-
ing in impersonation fraud. Under the benchmark law, students cannot use ID from other states
or their student ID to vote in South Carolina. They must use one of the approved forms of ID in
the benchmark law, probably voter registration certificates issued by the SEC, since the matching
of the DMV and SEC records indicates that many of the voters in precincts heavily impacted by

students did not have a South Carolina DMV issued ID.

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53. The most obvious example of compromise in the Senate is that the Democrats were pre-
pared to filibuster the bill with about 200 possible amendments. They agreed to withdraw all of
those amendments in exchange for a vote of non-concurrence to the House passed bill, which
brought about the conference committee. They evidently believed they would get something they
wanted out of the conference report. Their willingness to “go along to get along” was betrayed
when provisions they favored in the bill, such as early voting, government employee ID for vot-
ing, and the elderly exemption were excluded from the conference report and the Republicans in
the Senate reluctantly accepted that report. Lt. Governor McConnell says that the House confer-
ence members agreed to pass a separate bill on early voting (deposition, pp. 135-6), but Repre-
sentative Clemmons denies this and the House killed a separate early voting bill in a Judiciary

sub-committee (deposition, pp. 197-99).

54. According to Senator McConnell’s remarks in the Senate Journal (Appendix C), the Sen-
ate had capitulated to the intransigence of House Republicans. When Senator McConnell pre-
sented the conference report he had to admit that it still contained many of the flaws in the House
bill that he, nine other White Republicans, and one White Democrat had cited as a reason for
non-concurrence to the House bill earlier (see Senate Journal 13 April 2011, p. 28,
SC_00087841). All the Democrats who were present also voted for non-concurrence. He sum-
marizes where the Senate and House stood on this bill and where the conference report came out.
The Senate provision for government employee ID and the elderly exemption were not in the
conference report. He indicated that the report had provisions that might play into the hands of
those who opposed the bill (meaning Democrats) and hoped it would not be precleared, because
it is too tough in some regards such as the limited types of ID that would be acceptable. He also

complained that the House delayed response to the conference putting everyone on a tight sched-

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ule. During this delay, the House and Senate Republicans were under pressure from Republican
Party activists to produce a “clean” bill. Specifically, to accede to the House bill with no early
voting provisions. This organized pressure is also apparent in many emails involving Representa-
tive Clemmons from Republican officials and activists. Senator McConnell calls it a “propagan-

da” campaign.

55, The House accepted a Senate provision for the DMV to get information on births from
the Department of Health and Environmental Control without cost, when the individual has no
copy of a birth certificate. This is not much of a concession since those with any kind of a pa-
perwork problem would more easily go to the county EC, not the DMV to get their photo ID.
Conferees proposed no change in absentee voting. It is noteworthy that absentee voting is the
area of the voting process that is the most subject to vote fraud (see Alvarez, Hall, and Hyde
2008; Imai and King 2004; Fortier and Ornstein 2003; Fay 2005; and Karlawish, et al. 2008).
Ms. Andino (pp. 51-2, 175) and Mr. Whitmire (p. 61, 66-8) discuss absentee vote fraud in South
Carolina involving corrupt election officials in their depositions. The Conference report deals
with the non-existent problem of impersonation fraud and ignores absentee voter fraud and other
serious problems in the election process (see for example D. A. Buell, E. Hare, F. Heinde, C.
Moore, and B. Zia, “Auditing a DRE-Based Election in South Carolina” Intervener’s exhibit 5 in
the deposition of Representative James Harrison, Chair of the Judiciary Committee, 12 June
2012, rough transcript). Representative Lowe, who discussed election fraud more comprehen-

sively in his deposition, testified that “I think probably more of the fraud occurs in the absentee”

(p. 65).

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56. The depositions of the major proponents of the photo ID law show that during the con-
sideration of the law they had little interest or concern about investigating either the extent to
which the photo ID law might burden Minorities more than Whites, the extent of actual imper-
sonation fraud, or the lack of public confidence in the election process. See for examples, Martin
deposition, pp. 67-8, 76-8, 101-2; Peeler deposition, pp. 34, 97; Harrison deposition, pp. 51, 126-

7; Harrell deposition, pp. 46-7; Lowe deposition, pp. 76; McConnell deposition, pp. 91.

57. Two of the Arlington Heights factors to consider are: 1) the extent to which the jurisdic-
tion afforded members of racial and language Minority groups an opportunity to participate in
the decision to make the change; and 2) the extent to which the jurisdiction took the concerns of
members of racial and language Minority groups into account in making the change. This legis-
lative process was controlled completely by the Republican majorities in both houses. The Dem-
ocrats participated in the debate in both houses, but were actually consulted and taken seriously
only in the Senate, and only to a limited degree with regard to the photo ID requirements. The
provisions that Democratic Senators (about half of whom are Black) preferred were not in the
conference bill. The Republican majority in the Senate wanted a photo ID bill, and feared that
insisting on compromise on issues other than photo ID would recreate the same problems that
resulted in defeat a year earlier. Therefore, they abandoned early voting, even though it was
unanimously passed in the Senate (amendment P482, see Table 4). No Democrats, White or
Black in either house, voted to accept the conference report and institute a photo ID requirement

for voting in South Carolina.

58. | Minorities in South Carolina vote overwhelmingly for Democratic candidates, so even

White Democrats can be considered as representatives of Minority voters, because they are can-

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didates of choice. For evidence of this see Colleton County Council v. McConnell, 201 F. Supp.

2d 618 (D.S.C. 2002), the statewide redistricting case in South Carolina in which I testified. The

court wrote at 641:

59.

In this case, the parties have presented substantial evidence that this disturbing fact [racial
polarization] has seen little change in the last decade. Voting in South Carolina continues
to be racially polarized to a very high degree, in all regions of the state and in both prima-
ry elections and general elections. Statewide, black citizens generally are a highly politi-
cally cohesive group and whites engage in significant white-bloc voting. Indeed, this fact
is not seriously in dispute. .. Racial polarization is highest in black-white elections—
those involving a black candidate running against a white candidate. And, there is a well-
documented hierarchy in the preference of black voters. With few exceptions, black vot-
ers demonstrate an overwhelming preference for black Democrats as their representa-
tives, followed by white Democrats, particularly in a general election, but black voters
virtually never vote for a Republican candidate.”

The same conclusion was reached in United States v. Charleston County Council, 316 F.

Supp.2d 268 (D.S.C. 2003), a case in which the court relied primarily on my analysis of polar-

ized voting. The court wrote:

60.

Dr. Theodore Arrington, expert for the United States, found that out of 31 contested,
County-Council elections studied from 1984 to 2000, voting was racially polarized 29
times (94%). The findings of Defendants’ own expert, Dr. Ronald Weber, also confirm
that voting in Charleston County Council elections is severely and characteristically po-
larized along racial lines. In 25 of the 33 contested general elections, from 1988 to 2000,
African-American and white voters were polarized (75.8%). This pattern of racially po-
larized voting is perhaps most dramatically demonstrated by Dr. Weber's findings that, in
general election contests for Charleston County Council with at least one African-
American candidate, there was polarization between African-American and white voters
100% of the time. Even in general election contests for Charleston County Council in-
volving no African-American candidates, there was polarization between African-
American and white voters 87.5% of the time. A number of discrepancies exist in Dr.
Weber's various reports concerning polarization in Charleston County Council elections.
Importantly, however, Dr. Weber has universally found severe and legally significant
voting polarization, notwithstanding any conclusions he may have concerning the cause
of such polarization. Ultimately, the Court is particularly compelled by the careful report
prepared by Dr. Arrington.

As these courts recognized, in South Carolina political party means race, and race means

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political party. They cannot be meaningfully separated because of the almost unanimous adher-
ence of Minority voters to the Democratic Party and the usual, but not overwhelming, preference
of White voters for the Republican Party. Any action that aids either party cannot be said to be
“Just partisanship” or “just politics,” because race and partisanship are inevitably intertwined, as
these courts recognized. In the Charleston case, Dr. Weber opined that the polarized voting was

“Just partisanship,” but the court rejected his analysis.

REMEDIATION OF THE BARRIERS INSUFFICIENT

61. The photo ID law contains various provisions that South Carolina claims will make it
easier for voters to obtain a photo ID, or vote without one. These provisions are not as helpful as
might appear on the surface. The first provision is a free ID card for voting age applicants from
the DMV offices. According to the web sites, these 67 offices are open Monday, Tuesday,
Thursday, and Friday from 8:30-5:00, and Wednesday from 9:30-5:00. Six offices (Aiken, one in
Charleston, Florence, Greenville, Lexington, and Rock Hill) are also open on Saturday from
8:30-1:00 (also see deposition of Col. Kevin Shwedo, Executive Director of the DMV in his
deposition, 7 June 2012, pp. 20-4). The state has made no provision for extra offices or extra
hours to accommodate tens of thousands of registered voters who may need a photo ID. These
offices are located in or near the county seat or in suburban areas of the larger cities. As the data
in Table 2 shows, Blacks are more likely than Whites to lack a vehicle in the household for travel
to the DMV office. The advantage of receiving a photo ID from the DMV is that it is an all-
purpose ID that could be used for things like cashing a check or riding on an airplane. The disad-

vantage is that it expires after five years and is no longer current and valid.

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62. The biggest disadvantage of the DMV provision for those registered voters without a
photo ID is that DMV bureaucracy is quite complex and not user-friendly. To illustrate this
point, their rules governing required documentation to receive an ID are in Appendix D. DMV
offices must be governed by bureaucratic regulations because DMV IDs are all purpose docu-
ments that can be used for things like boarding an airplane. The problems with the DMV offices
also involve lack of resources and necessary complexity of rules that the personnel in these of-
fices cannot control. The “DMV Policy Task Force Findings and Recommendations” presented
to Governor-Elect Mark Sanford on 9 January 2003 stated: “The current state of South Caroli-
na’s DMV is alarming. South Carolinians are all too familiar with its inefficiencies - long lines at
branch offices, painfully slow mail-in services, inefficient call centers (with two out of five calls
going unanswered), a multimillion dollar computer system that is not yet fully-functional, and
facilities that are too small, uncomfortable, and are not customer-friendly. South Carolinians
know there are serious problems at the DMV” (p. 3). Col. Shwedo outlined some of the pressures
on the DMV in his deposition. The issuing of free ID under the bill will cost the agency money.
This will impact services, because the DMV is self-supporting and the General Assembly has
been unwilling to increase fees on licenses, (pp. 55-7, 109). The DMV is currently operating at

80% of authorized staff (p. 108).

63. Although various reforms were instituted under Governor Sanford, the old patterns re-

main or resurfaced (see http://www.fitsnews.com /2012/02/09/scdmv-is-incompetence-back).

Gregg Easterbrook (a fellow at the Brookings Institute) points out that bureaucratic problems at
DMV offices are the norm across the country, not unique to South Carolina: “Lines are long,
clerks are rude. It can take hours to conduct the simplest transaction. The mindset of the typical

DMV office is that the taxpayer’s time is utterly worthless — expect to spend the whole day in

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the waiting room. Then finally get to the window, and the clerk will search your paperwork for
some trivial imperfection and send you away, knowing full well this will force you to waste an-

other day in the waiting room to get back to the window” (http://blogs reuters.com/gregg easter-

brook/2011/01/06/american-exceptionalism-and-the-dmv-factor/).

64. There is another aspect of the DMV provisions that is worth notice. Any DMV photo ID
must be current and valid according to the photo ID law. This is interpreted to mean that an ex-
pired or suspended South Carolina driver’s license cannot be used for voting. This is different
from the laws in Georgia and Indiana (see the National Conference of State Legislatures compar-
ison at http:www.ncsl.org/ legislatures-elections/elections/voter-id.aspx). The only purpose of
the photo ID law, according to its sponsors and its text, is to confirm the voter’s identity. There is
no reason that an expired license, or a revoked one for that matter, cannot adequately document
the identity of the voter. The current and valid provision in the South Carolina law, as interpret-
ed, simply provides further restrictions on voters without any decrease in fraud. Mr. Whitmire in
his deposition (pp. 124-6) admits that it is not clear what valid means and that poll managers
would probably have no way to determine whether the ID was valid, other than expiration date.
The exact meaning of these terms is also unclear to the major proponents of the photo ID law

(see Peeler deposition, pp. 78-80; and McConnell deposition, p. 125).

65. According to the procedures to implement the photo ID law prepared solely by Ms.
Andino and her staff and submitted to the court for preclearance (see ECF No. 65 and her deposi-
tion pp. 99-101), the county ECs will only require a registered voter to give name, address, date
of birth, and last four digits of the Social Security number to receive a photo ID that is good only

for voting, but has no expiration date. There is some question, however, whether a permanent

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voter ID is really permanent. Mr. Whitmire discusses this problem in his deposition (pp. 148-9).
After some years the voter may no longer resemble the old picture. Mr. Whitmire recommends
that voters get a new card every few years to prevent questions about whether the voter is really
the person in the photo. Given the lack of clear rules from the SEC and their ability to enforce
any rules, additional trips downtown to get a photo might be necessary in order to avoid prob-

lems at the polls on the day of the election.

66. There is one EC office in each county. The business hours on web sites are regular court-
house hours, 8:30-5:00 Monday through Friday. The locations are at the county seat (see Andino
deposition, p. 106). Most of these offices are in the county courthouse or county office building,
and may have limited parking. Unlike DMV offices, EC offices may be less accustomed to
heavy foot traffic, since much of the business of registration is now handled by mail and on-line.
In her deposition, Ms. Andino knows of no plans by the county ECs to expand their hours or
days of operation to accommodate tens of thousands of registered voters who may need a photo
ID (deposition, pp. 166-9), although Mr. Whitmire indicates that Saturday hours for county EC

offices are sometimes established near the election (deposition, p. 134).

67. For those who do not need a photo ID for other purposes, the photo ID law takes us back
fifty years to when voter registration in many states — especially in the South — was restricted to
the county courthouse during banker’s hours (see Keyssar 2001). While one can “register” in all
the new ways including by mail, at public events, or even in the comfort of one’s home; one can
only get the required photo ID by making a trip downtown during the work day. The SEC has
one bus that can go around to events to register and photograph voters for the new photo ID law.

Mr. Whitmire testifies in his deposition (pp. 82-87) how this vehicle will be used. He cannot

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even be sure that the bus could get around to every county by November if the photo ID law is
precleared in early September. Ms. Andino testifies that the bus would not be able to reach all
counties if the law is precleared in September (p. 111). In any case, a single mobile unit for the
entire state is hardly a significant outreach effort for either the short or the long term. Essentially,
the provisions of the National Voter Registration Act (NVRA), the Help America Vote Act
(HAVA), the Voting Rights Act, and fifty years of reform that made registration and voting easi-

ly available are abrogated for those who do not already have a valid photo ID.

68. The requirement to go downtown to get a photo ID is the practical equivalent of require-
ments for reregistration that have been objected to by the U.S. Attorney General and were of
concern to the Congress. A report of the United States Commission on Civil Rights to the Con-
gress in January 1975 titled “The Voting Rights Act: Ten Years After” stated that a requirement
for reregistration “.. . places a substantial burden on the Minority voter, who has often succeed
in registering only after overcoming many obstacles. The result of a reregistration can be a de-
cline in the number of Minorities who are registered” (p. 93). The report goes on to cite a specif-
ic example in Arizona in 1970, and is critical of the Department of Justice for sometimes not ob-
jecting to reregistration in Mississippi. A basic source on this subject is “The Shameful Blight:
The Survival of Racial Discrimination in Voting in the South,” by the Washington Research Pro-
ject, 1972, which provides a list of Mississippi counties’ use of the reregistration strategy and the

Justice Department’s response.

69. The Department has objected to reregistration processes in states covered by § 5 in some
instances. In an objection letter to Perry County Alabama dated 25 September 1981 the Depart-

ment wrote: “Our analysis shows that the likely effect of this reidentification and purge will be to

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effectively dilute the voting strength of the black electorate in Perry County. . . the limited hours
and locations at which reidentification can be accomplished, and the generally restrictive manner
in which one would have to go about perfecting his or her reidentification, .. . shows that the
burden cast by this process upon blacks would be much greater than on whites and would make
it much more difficult for blacks to preserve their voting status.” In an objection letter to Jasper
County Mississippi dated 8 June 1971, the Attorney General objected to a reregistration and nul-
lified the results. The objection letter indicates that only 75% of the registered voters were able

to reregister, and that the proportion of Blacks who reregistered was lower than 75%.

70. There is also an additional significant short-term problem with preclearing the photo ID
law and applying it to the 2012 elections. The county ECs are not geared up to process tens of
thousands of photo IDs before the November elections. Election offices are facing the highest
volume of business in the four-year election cycle — the presidential general election (see turnout
figures cited above). Sometimes precinct lines must be changed to accommodate redistricting
with all the work that this entails, because this is not only a “presidential” but also the first gen-
eral election after decennial redistricting — a double whammy for election offices. Ms. Andino
says that at this critical time just before any election — much less a presidential — the county ECs
could use twice as many staff and are chronically underfunded and understaffed (see deposition
pp. 22-3). In 2008 the lines for voting absentee in South Carolina were as long as six hours
(Andino deposition, pp. 189). In their extensive analysis of the experience of voters in the 2008
elections, Alvarez, et al. (2012) show that the average wait time at the polls was longer in South
Carolina than in any other state (pp. 73-4), and that 20% of the registered voters who failed to

vote cited long lines as the reason (p. 34).

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71. On top of this, the photo ID law will place a new task on the county EC offices to process
photo ID for both the flood of new voters, and the backlog of tens of thousands of old voters who
now need an ID. They are also responsible for notification to those voters who do not appear to
have a photo ID, and other miscellaneous public notice provisions. The photo and processing
equipment and supplies have not been purchased (Ms. Andino’s deposition, pp. 82-3, and Mr.
Whitmire’s deposition, pp. 72-74). Indeed, it is not clear that South Carolina has appropriated the
funds that will be needed, although Representative Clemmons claims this has been done (see
deposition, pp. 76-7). The county EC staffs have not been trained in the use of the equipment and
the procedures will be new and untested in the field. No provision has been made to increase the
personnel to handle the additional load. If this is an unfunded mandate on county government,
there is no evidence that they have prepared the funding and staffing either. See the Andino dep-
osition, (pp. 82-4, 98-104, 107-11, 163-171) and Whitmire deposition (pp. 70-9, 87-123, 138-

140) for discussion of partial preparation at this point.

72. The court has indicated that its decision on preclearance of the photo ID law will come in
early September 2012 (Scheduling and Procedure Order, 26 April 2012, p. 8). Ms. Andino, testi-
fied by Affidavit dated 10 April 2012 4 28: “.. . the [photo ID] Act must go into effect by at least
August 1, 2012. This is the latest date at which the Act can become effective and the SEC can
still completely fulfill its duties under Section 7 of the Act.” According to her deposition on 6
June, however, she says that the court’s date of early September is not too late for implementa-
tion for the November election. Yet she testifies that nothing has changed since her affidavit in
April in terms of the ability of the SEC to carry out its responsibilities under the act and the time

she previously estimated it would take to perform these tasks (deposition, p. 166, 192-4). Mr.

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Whitmire is only willing to say he “believes it is possible” to be ready for the November election

if the photo ID bill is precleared in early September (deposition, p. 140).

73. Notice two contradictory scenarios: 1) that many individuals without a photo ID will be
unable or unwilling to bear the cost to obtain one and will be denied the right to vote, or 2) that
many individuals will seek to obtain an ID from the ECs and the offices will be unable to handle
the load. Given Dr. Stewart’s estimates of the numbers of individuals who are properly registered
but do not have a valid ID as required by the law (173,000), it is possible that both scenarios

would occur if the law is precleared.

74. The photo ID law provides that a person who has a religious objection to being photo-
graphed or suffers a “reasonable impediment that prevents the elector from obtaining photograph
identification” can complete a paper ballot that is placed in an envelope with the attached affida-
vit stating the reasonable impediment or religious objection. The county EC would determine
whether the ballot should be counted on the basis of information on the unopened envelope (pre-
cinct number, voter’s name, etc.) and the affidavit. The photo ID law provides that the provision-
al ballot of someone whose only problem is that they did not show a valid photo ID and had a
religious objection or reasonable impediment “shall be counted” unless the affidavit is “false.”
The South Carolina Attorney General has issued an opinion (16 August 2011 letter to Marci
Andino) in an attempt to clarify this wording with regard to “reasonable impediment,” but not
“false.” Here are the relevant excerpts from his opinion:

Based upon the words used in Subsection (D)(1)(b) - "suffers a reasonable imped-
iment that prevents the elector from obtaining photograph identification" - it is evident
that the General Assembly sought to make allowances for those voters who have a valid
reason, beyond their control, which would prevent them from obtaining a Photo ID. One

such reason which is obvious is that there are numerous South Carolinians, generally over
age 50, who do not have a birth certificate. A primary cause is that, decades ago, many

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babies were not born in hospitals, but were delivered by midwives and thus no birth cer-
tificates were obtained. See, "Many Face Fight to Prove Identity," Zhe State, July 19,
2011. In addition, persons with disabilities also might be unable to obtain a Photo ID.
Thus, the Legislature, cognizant of the conditions beyond a person's control, for obtaining
photographic identification, provided the affidavit mechanism as a means to vote for
those who presented themselves at the polls, lacking such identification because of these
circumstances. (page 3)

Therefore in response to your specific question, the short time frame between any
preclearance of the legislation and the date of any election immediately thereafter would
constitute a "reasonable impediment" for purposes of the Voter ID legislation. Such short
time period is beyond the voter's control. (page 5)

75. Given the lack of a clear standard in the law and conflicting testimony about the meaning
of reasonable impediment and how its meaning would be determined by the county ECs (see be-
low), the provisional ballot procedure might allow anyone to vote without producing any kind of
documentary ID at the polls, or might not allow any such provisional ballots to be counted. The
question involves the meaning of “false” and whether the county EC has discretion to interpret
the meaning of “reasonable impediment,” and the standards for such discretion if it exists. These
words may be interpreted by the county EC as allowing anything or allowing nothing. Therefore
this provision is troubling, if voters have no valid and current photo ID and choose to execute an
affidavit and a disproportionate number of them are Minorities. A process that is so open to sub-
jective application of the law is vulnerable to abuse including racial discrimination (see e.g.,

Charleston County, 316 F. Supp. 2d at 286 n. 23).

76. I first list interpretations that would exclude most, if not all, possible reasonable impedi-
ments. Then I cite conflicting testimony that anything might be permitted as a reasonable imped-

iment.

77, The law specifically provides a religious exemption. It is hard to know how the county
EC would know whether religious objections were true or false.

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78. Second, the South Carolina Attorney General indicates that if the preclearance of the pho-
to ID law is too close to the election, making it impossible to fully implement its provisions, this
would be a reasonable impediment. Presumably all voters who lack a valid photo ID could use
this excuse if the court preclears the law in September and it applies to the November 2012 elec-
tions, given Ms. Andino’s original opinion that full implementation must begin August 1“. Hav-
ing large numbers of voters use the provisional ballot during a presidential election would cause
long lines at polling places, and voter confusion. The provisional ballot arrangement works as
long as it is an occasional safety valve. If tens of thousands of voters use it, the system 1s in dan-
ger of breaking down. The South Carolina association of county election officials (SCARE) has
objected to the photo ID law specifically because they are concerned that it will cause long lines
and delays during the election process (see Andino deposition, p. 91-2). In 2008 South Carolina
had an average wait time to vote of 57.7 minutes, which was the longest of any state. The next
longest was Georgia at 33.0 minutes (see Alvarez, et al. pp. 73-4). So local election officials are

on target in their concerns about anything that would further delay the voting process.

79. Third, the South Carolina Attorney General gives the example of a person with a disabil-
ity. If the voter is able to present him or herself at the polling place on election day, they are pre-
sumably abled enough that they could get down to the EC office prior to the election. Those who
are too disabled to get downtown for their photo would presumably vote absentee by mail. To
say that disability would be sufficient to prevent the voter from going downtown, but not suffi-
cient to prevent him or her from getting to his local polling place, would suggest that the lack of
access to a vehicle and travel problems are a reasonable impediment. One can imagine a tempo-
rary disability that was relieved just before the election day, but again it is not clear how this

would be supported or falsified, and it is surely a rare situation.

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80. | Whether the “over 50” example cited by the South Carolina Attorney General would be
allowed is also unclear, especially since the General Assembly specifically rejected an exception
for the elderly. The requirement for a birth certificate only applies to the DMV. Voters without a
birth certificate can get a photo ID at the EC office. Since both kinds of offices are about equally
inconvenient for any particular voter, not having a birth certificate could not be considered a

“reasonable impediment.” This excuse could automatically be regarded as false.

81. On the other hand, Ms. Andino’s interpretation of the law is that the county ECs must
accept any reason given. She testified that the following are reasonable impediments in her depo-
sition: A lack of transportation to get downtown to the EC office (p. 113) and the inability to get
to the EC or DMV office during working hours (pp. 113-4). She testified that a reasonable im-
pediment is whatever the voter says it is (pp. 113-115) also see her discussion on pp. 155-6 and
169.) She testified that the county ECs have no discretion in their interpretation of reasonable
impediment (p. 115). And it is difficult to see how any of these permissible excuses, according to
Ms. Andino, could be proven false. Mr. Whitmire seems confused about this issue in his deposi-
tion. He first testified that he agreed with Ms. Andino’s interpretation (pp. 132, 196), but then
rethinks his opinion after reading the statute and comes to the conclusion that he doesn’t know

how to interpret these phrases (pp. 197-8).

82. The proponents of the photo ID law in the General Assembly are not in agreement about
what reasonable impediment means in their depositions. Senator Martin testifies that transporta-
tion problems would not be a reasonable impediment, and that it 1s not just anything that the vot-
er believes it to be (pp. 108, 192). Senator Peeler testifies that he does not know what it means

(pp. 63-4), he seems to say that any excuse is acceptable (p. 65-68), but then his testimony on

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this subject becomes unclear. He can’t decide whether “I just didn’t feel like it” is or is not a rea-
sonable impediment (pp. 70-1). Representative Harrison testifies that being bedridden or not hav-
ing a birth certificate is a reasonable impediment (pp. 57), but just not wanting to do it is not (p.
58). According to Representative Harrison, even for the birth certificate excuse, the voter needs
to make an effort in order for it to be a reasonable impediment (p. 58). He testifies that the SEC
will make sure that not having enough notice is not a reasonable impediment (p. 58). He doesn’t
know whether the following are reasonable impediments: no bus service, did not know that one
could not vote on an expired license, a photo is an invasion of privacy, my child was sick or I
could not get a babysitter to go downtown (p. 106). But he testified that just being poor is not a
reasonable impediment (p. 141). Representative Harrell testifies that any reason may be accepta-
ble (p. 130). Mr. Dennis, who drafted the photo ID bill for the House, testified in his deposition
(p. 149) that he does not know what reasonable impediment means in practice. In Representative
Clemmons’ testimony (pp. 56-60) he says he would rely on the SEC to define reasonable imped-
iment, cites the Attorney General’s birth certificate exemption, and indicates that transportation
issues could be a reasonable impediment. Lt. Governor McConnell is unsure about whether “TI
didn’t know about the law before” would be an acceptable reasonable impediment (deposition, p.

168).

83. The SCARE Legislative Committee indicated that its members are also uncertain (see
Andino deposition, pp. 92-3). In her deposition, Ms. Andino does not know whether the opinion
of the Attorney General (cited above) addresses the local election officials concerns (p. 94). Fur-
thermore, Ms. Andino (deposition, pp. 135, 205-7) and Mr. Whitmire (deposition pp. 185-90)
admit that the State Election Commission has no control over how poll managers are trained and

instructed, or how the photo ID provisions would be implemented. There is reason to believe that

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the county ECs will not necessarily be governed by the SEC decisions. Mr. Dennis testified that
“Tt is fair to say, I think, that the 46 voter registration boards in this state have 46 different pro-
cesses by which you register to vote” (deposition, p. 141-2). Yet voter registration is set in the
South Carolina Constitution (Dennis deposition, p. 96-98). If there is no uniformity in imple-
menting a constitutional provision, one would not expect uniformity on a statutory question. Yet
the legislative proponents of the photo ID law are depending on the SEC to impose uniformity
and an appropriate definition of reasonable impediment. See depositions of Martin, pp. 108-10,
187-93; Peeler, pp. 65, 71; Harrison, pp. 59, 103-5; Harrell, pp. 79-80, 130-2; Dennis, p. 56, 92;

Clemmons, pp. 65 for discussion of reliance on the SEC.

84. Because the discretion is left up to the county ECs with the criteria so uncertain, troubling
concerns are raised. In United States v. Charleston County (316 F. Supp. 2d at 286-89 n.23) the
court found “significant evidence of intimidation and harassment” of Black voters in Charleston
County, SC by poll managers and poll watchers based on testimony about such conduct in elec-
tions from the 1980s through 2002. The problem is that the county ECs are not responsible to the
SEC. They are appointed by the governor or the legislative delegation; and cannot be removed
by, and are independent of, the SEC. The selection of election officials in South Carolina is par-
tisan, and there are no provisions in many counties for the minority party to have representation
on the commissions and boards that will make these decisions. The governor makes the county
EC appointments with the advice of the majority of the county delegation in the General Assem-
bly, except in a few counties where the majority of the delegation appoints directly. The race of
the voter who submitted the provisional ballot can be known prior to the canvass and it is possi-
ble for election officials to arbitrarily decide to accept or reject a provisional ballot on the basis

of race and known relationship of race to partisanship or some other factors, especially in pre-

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cincts with a high proportion of Minority voters.

85, The scholarship on the behavior of election officials is clear: partisanship makes a differ-
ence in how provisional ballots are judged (Kropf and Kimball (2012, chapter 6). Foley (2005)
discusses the vulnerability of provisional ballots to “post election abuse” (e.g., not being counted
by the county EC) if rules are not clear and effectively enforced. Baybeck and Kimball (2008, p.
18) also indicate problems with implementation of provisional ballot procedures: “... provisional
ballots are more likely to be rejected in precincts with non-white residents and female-headed
households with children. Where we have individual-level data on provisional voters, Independ-
ents and nonpartisans are more likely than partisans to see their provisional votes rejected, and

non-whites are more likely than whites to see their provisional ballots rejected.”

86. _Evenif we assume fair administration at the polling place and county EC office and Ms.
Andino’s broad interpretation of the statute, the provisional ballot procedure would still have a
disproportionate negative effect on Minority voters. The voters who decide to try to vote without
a photo ID, will be redirected away from their neighbors, family, and friends to a different table
where they will be asked to complete an affidavit swearing that they are who they claim to be
and declaring that they have some kind of impediment. Their ballot will be sealed in an envelope
and they will not know whether it will be counted. This procedure is embarrassing, occurring
within what for some of those with low levels of literacy is a stressful process. They are, in es-
sence, being singled out as potentially fraudulent voters without probable cause. This apparently

minor increase in the cost of voting, can have an impact on turnout.

THE NEED FOR PHOTO ID TO PREVENT
IMPERSONATION VOTE FRAUD IS PRETEXTUAL

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87. Hypothetically, it is possible that an individual in South Carolina has impersonated a reg-
istered voter. If the photo ID law is not precleared, an instance of impersonation might occur in
the future. Implementation of the photo ID law might deter some instance of impersonation
fraud. That said, impersonation fraud is not a problem (see Andino deposition, p. 142 for the lack
of impersonation fraud in South Carolina). Certainly not a problem that outweighs the public in-
terest in encouraging voting, the greater problems in the voting process not being address by
South Carolina such as long lines at the polls, and the disproportionate negative impact this law
would have on Minority voters. Moreover, the photo ID law would not necessarily prevent im-
personation fraud (see Andino deposition, p. 64 and Whitmire deposition, p. 152-3). Mr.
Whitmire indicates in his deposition (pp.157-8) that there are no plans to train poll managers in
spotting fake ID, and there is nothing to prevent counterfeiting the planned EC photo registration
card. There is no chance that poll managers will be trained in the identification of fake ID in the

same way that personnel in the DMV are trained (see Col. Shwedo’s deposition, p. 187).

88. Impersonation vote fraud can be put in formula terms like the calculus of voting present-
ed above: PF > One-Vote. The impersonator has a chance (P) of being caught committing felony
(F). If he or she succeeds in the impersonation the preferred candidate or party gains one vote.
The chance of one vote deciding any election is virtually nil. While it is true that without photo
ID, the probability of detection (P) is also low, the incentive to commit this crime still cannot
match the possible cost. In other words, we would logically expect this particular kind of vote
fraud to be extremely rare, unless part of an organized effort that would surely be detected unless

it involved corrupt election officials.

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89, To succeed in this kind of fraud the impersonator must know that the voter he or she is
impersonating has not already voted, and that the voter won’t be in the voting place at the time of
the impersonation. He or she must also know that none of the poll workers and no one who
might be coming to vote at about that time knows the voter. He must also match the sex and ap-
proximate age of the voter. The voter’s date of birth is on the poll book, and the sex of the voter
can usually, but not always, be determined by the given name. Since an impersonator cannot use
a photo ID, he must obtain the voter registration certificate issued to the impersonated voter by
the EC. This card has to have the voter’s signature. So he must also be able to forge a reasonable
facsimile of the voter’s signature in the poll book (see discussion of the uncertainty about a sig-

nature on the new photo ID card from Mr. Whitmire’s deposition, p. 155).

90. The evidence available to the General Assembly and the Governor about impersonation
vote fraud is not in dispute. There are no cases of impersonation vote fraud that have resulted in
indictments, much less convictions, in South Carolina at least in the last ten years and perhaps
for a longer period. This fact was repeated again and again in the debates in the House and Sen-
ate. Advocates of the photo ID law argue that impersonation fraud is difficult to detect when val-
id and current photo ID is not required. While this is true, the undisputed facts closely match the
logic presented above. Impersonation fraud is difficult to pull off, and just not worth the risk.
That is why it is extremely rare, and not a public policy problem. Scientific studies of fraud in
many places in the country have confirmed the absence of this type of vote fraud, and these stud-
ies were cited in the General Assembly debate (see statement of Representative Sellers cited

above and specifically the five-year study of voter fraud conducted during the administration of

George W. Bush discussed in the New York Times, 12 April 2007, http://www.nytimes.com

/2007/04/12/washington/12fraud, html? pagewanted=all, that was cited frequently in the debates).

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91. In her deposition, Ms. Andino was questioned closely about the absence of impersonation
vote fraud. Here are some of the things she testified about this subject in her deposition. There 1s
no evidence that the current procedures for preventing vote fraud are not effective (p. 50). She
did not ask for a photo ID law (p. 50). Only two examples have been brought to her attention,
and neither were verified (pp. 53-4). The survey the SEC undertook of the county ECs, uncov-
ered no evidence of impersonation fraud (pp. 54-6). The statewide association of county election
officials (SCARE) has opposed a photo ID law (p. 67). Indeed, the legislative priorities for
SCARE have not included anything about fraud, but did include advocacy of no excuse absentee
and early voting (pp. 67, 86-90). Asked whether in her 25 years of experience with the SEC cov-
ering perhaps 20 million votes cast, has she determined to her satisfaction that anyone attempted
to impersonate another voter at the polls, she answered “Not at the polls” (p. 142). She is not
aware of any vote fraud that the photo ID law would have prevented (p. 142). She was asked by
Senator Campsen to look into the issue of voters being registered in more than one state. She sent
him a letter saying that the SEC had looked into that and that there was no evidence of people
voting in multiple states (p. 195). One case that was reported from Charleston County merely on
the basis of an unsubstantiated conversation, was of a mother voting for her daughter (Andino
deposition p. 53 and Whitmire deposition, p. 56-58). But the birth date of the voter is on the poll

book, so it is difficult to believe this story unless the poll manager was corrupt or inattentive.

92. The legislative advocates of the photo ID law testified in their depositions that they, like
Ms. Andino, do not have any actual credible evidence of voter impersonation fraud. Instead, they
present unverified “anecdotes” (term used by Mr. Dennis, p. 18, and Representative Clemmons,
p.54). They sometime cite other kinds of fraud. They make these admissions in these pages: Sen-

ator Martin, pp. 25, 38, 42, 89, 119-10; Senator Peeler, pp. 25-8; Representative Harrison, pp.

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34-41, 78-79, 96-97; Representative Harrell, pp. 40-3, 147; Representative Lowe, pp. 19-20, 78;
Mr. Dennis, pp. 18, 24, 119-20; Representative Clemmons, pp. 41-2, 54; and Lt. Governor

McConnell, pp. 44-6.

93. | The Republican majority in the General Assembly agrees that South Carolina has an ob-
ligation to make the ballot available to all eligible citizens, because voting is a right (see Senator
Campsen’s speech cited above). But the state also has a public policy of actually encouraging
turnout (see Andino deposition, p. 141). In accordance with state and Federal law, policies are
designed to encourage voting. That is why registration can be accomplished by mail, at the
DMV, or by registrars out in the field like the political parties and the League of Women Voters.
Absentee voting is available in South Carolina (although not “no excuse” absentee), polling
places have to be well marked and accessible, and voting equipment is purchased in part with the

ease of the voter in mind.

94. Anyone who has been involved in the administration of elections understands that there
are no perfect elections. Clerical errors, human errors throughout the process from the poll man-
agers to the canvassing board, bad ballot design, and machine errors far exceed any imagined
votes changed by impersonation at the polls. Kropf and Kimball (2012, especially pp. 110-1)
write extensively about the really important problems with the election system all of which stem
not from fraud, much less impersonation fraud, but from underfunding and some partisanship in

election administration.

95. Some election officials argue that the photo ID law, as contained in the House bill, con-
tains loopholes that open the door to impersonation fraud, rather than closing it. In an email from

Marshall Scott to Senator Tom Davis, Representative Clemmons and others dated 18 April 2011

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(SC_00000953-960) is a document titled “House Bill 3003 Concerns from the Beaufort County
Board of Elections and Registration.” Here is a summary of their concerns. Current and valid ID
cards do not establish domicile according to the new law. (Passports and military ID do not have
an address either). Assume that “John Smith” gets a current and valid photo ID. He could then go
into any precinct where a “John Smith” is registered and vote. His identity would not be ques-
tioned, and he would not need to present one of the authorized forms of ID under the benchmark

South Carolina law that do contain an address.

96. Ms. Andino stated that the only change the photo ID law would bring to an impersonation
attempt is that the impersonator would have to complete an affidavit giving a reasonable imped-
iment for not having a photo ID, in addition to everything else that would be involved in an im-
personation (deposition, p. 162). This is an incomplete analysis. Under the benchmark law the
impersonator has to produce the voter registration certificate of the voter who is being imperson-
ated (the other acceptable IDs have a photo) and forge the signature in the poll book to resemble
the signature on the certificate. It is possible that under the photo ID law the impersonator might
not need to present any documentation at the polls, and the poll managers would have no signa-
ture of the voter to compare to that of the impersonator. The new law may, in that sense, make
impersonation voter fraud easier. Also see Lt. Governor McConnell’s discussion of the signature

provision in the current law (deposition, p. 56).

97. The Beauford County Board of Elections and Registration also question the legality of an
affidavit executed in the precinct that would not be properly witnessed by a notary public. The
legislative proponents of the photo ID law are divided on whether a Notary Public is needed to

verify the signature according to their depositions. Senator Martin testifies that he does not think

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a notary 1s needed at the polls for this purpose (p. 112). Senator Peeler does not know (p. 73).
Representative Harrison does not know either, but testifies that if a notary is needed the SEC will
see that there is a notary at every polling place (pp. 60-2). Representative Harrell is not sure ei-
ther but if it is required by law then one would have to be present in every polling place, and the
county EC would have to provide them. Neither does he know how a notary could notarize a sig-
nature for a person who has no picture ID (pp. 128-9). Representative Clemmons is sure that a
notary must be present at the polls to notarize signatures on the affidavits for provisional ballots
because “one cannot execute an affidavit without a notary” (p. 68), and the law cannot be im-
plemented with regard to the provisional ballots without notaries (pp. 70-1). He does not, how-
ever, know of any plans for the county ECs to have notaries at the polls (pp.70-1), and he does
not indicate how a notary would be able to notarize a signature of a person who has no photo ID.
There is also an obvious logical problem. The impersonator is anonymous. Only the name of the
person being impersonated is known. It is difficult to see how impersonation voter fraud is pre-

vented, or even deterred somewhat by the photo ID law.

98. The Republican majority in the General Assembly and Governor Haley have emphasized
their belief that the public lacks confidence in the election process in South Carolina because
voters are not required to show a photo ID when they vote. But they present no evidence. The
anecdotal evidence cited by the Republican advocates of the photo ID policy in the debates and
Representative Clemmons emails suggests that many voters believe that photo ID is already re-
quired. He says: “The first response I get when I discuss this bill with my constituents is: “That’s
not already the law?” (see email from Representative Clemmons to Ralph Panzrino, 6 May 2010,
SC_00000575-576). In their depositions the legislative proponents of the photo ID law repeat

these anecdotal assessments of public confidence, but admit they neither collected nor sought

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systematic evidence of confidence (see Representative Harrison, p.47-8, 50; and Clemmons, pp.

53-5).

99. The SEC conducted the only polls on public confidence that would have been available to
the General Assembly. Ms. Andino said that post election surveys of voters conducted by the
SEC in the past (as recently as 2004 and 2006) indicate that 80 to 90% of the voters were “very
confident” in the election process, and she has no reason to believe that the level of confidence
has changed (deposition, pp. 177-8). There is no evidence that the SEC offered these data to the

General Assembly or that they asked whether such data existed.

100. Those most in touch with public perception would be the grassroots officials who imple-
ment elections in South Carolina. Ms. Andino, however, reports that her staff and the SEC did
not ask the General Assembly to pass a photo ID requirement, but they have supported early vot-
ing (deposition, p. 50), and the association of county election officials (SCARE) has consistently
opposed a photo ID requirement, while also supporting early voting (Andino deposition, pp. 67,
86-90, 146). Mr. Whitmire claims that the SEC has taken no position on the photo ID law be-
cause it is too “political” (meaning partisan), and they wish to maintain their neutrality (deposi-

tion, pp. 35-6).

101. The photo ID law was a primary goal of the Republican Party organization, Republican
activists, and some Republican members in both the House and Senate (for example, see the Re-
publican Party Platform, Summer 2010), not from the general public. The campaign from party
activists for the law as a “clean bill,” mentioned in Senator McConnell’s explanation of the con-
ference report (Appendix C) and described by him as “propaganda,” is another clear indication

of the Republican Party organization as the main source of pressure for a photo ID bill. Most of

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the emails to and from Representative Clemmons also reflect this source of the pressure, and he

confirms this conclusion in his deposition (pp. 175-8).

102. Other proponents of the photo ID bill also testify that Republican Party activists and Tea
Party groups were the pressure for the photo ID bill. These groups were the source of the idea
that Republican senators were responsible for the defeat of the law in the 09-10 session of the
General Assembly. This pressure was sufficient to force Republican Senators to abandon early
voting, and elderly exemption from the law, and the inclusion of government employee ID for
voting. They did not want to be blamed again for the defeat of the photo ID law. For further dis-
cussion of this political situation see Lt. Governor McConnell’s statement in Appendix C and his
deposition, pp. 104-8, 127-8, 135-6, 159-61, 172-3. For similar support see depositions of: Sena-
tor Martin, pp. 142-152; Representative Harrison, pp. 50, 155; and Representative Harrell, pp.

115, 164-6.

CONCLUSIONS

103. Under the Arlington Heights framework one is not required to prove that racial discrimi-
nation was the sole, primary, or dominant motivation behind a law that adversely affects a Mi-
nority group. A court may find that a policy with a clearly foreseeable and significant adverse
effect on a Minority population was enacted with discriminatory intent even if that adverse effect
results from the application of an otherwise neutral state policy. Requiring a valid photo ID to
vote may appear to be a “neutral state policy,” but it is not a policy that could reasonably be in-
tended to deal with a significant public problem. It runs counter to another important public in-

terest in promoting voting, and it adversely affects Minorities to a greater extent than Whites.

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104. Why would the proponents of a photo ID law in the General Assembly and the governor
enact a policy that addresses no public problem, and runs counter to an important public interest
in voter turnout? The people who will be most seriously affected by the photo ID law are Minori-
ties who almost never vote for Republicans in South Carolina. A law in South Carolina that more
seriously hurts Minorities than Whites, works to the advantage of Republicans. While it may be
that the advocates of the photo ID law believe it is good public policy, they can afford to be un-
concerned about the effect it might have on voter turnout since any effect would harm Democrat-

ic voters more than Republicans.

105. Dr. Stewart’s analysis shows clearly that the photo ID law will impose a burden that dis-
proportionately affects Minority citizens. This “burden” is not slight or insignificant as South
Carolina claims. There is not, as required by the Arlington Heights decision, a “reasonable and
legitimate justification” for this change. The alleged fraud justification is pretextual. There is no
evidence of impersonation vote fraud or of a lack of public confidence in the election process
because of impersonation vote fraud. But even if one assumes that the photo ID law is an “oth-
erwise neutral state policy” the law has a clearly foreseeable and significant adverse effect on the
Minority population, and therefore was enacted with discriminatory intent. The General Assem-

bly was aware of this adverse effect and enacted the photo ID law in spite of that knowledge.

106. The General Assembly did not take the concerns of Minorities into account in the for-
mation of this policy. Whatever compromises were made with Minority Senators were negated in
the conference committee that adopted the House version on all matters involving the photo ID
provision of Section 5. Therefore, Minority representatives in the House did not play any im-

portant role in the formation of this policy.

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107. South Carolina is covered under § 5 of the Voting Rights Act because it is one of several
states that had a long history of racial discrimination in registration and voting prior to the adop-
tion of the Act (see Bullock and Gaddie 2009, chapter 6). South Carolina has a history of de jure
segregation, and continuing racial disparities between the races in socio-economic status, educa-

tion, employment, and income.

108. Iconclude that the photo ID law was enacted with the intent to discriminate against Mi-
nority citizens and to retrogress by offering them less of an ability to participate in the political

process and elect candidates of their choice than they have under the benchmark statutes.

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| declare under penalty of perjury, that the foregoing is true and correct.

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Theodore S. Arrington, Ph.D.

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Table 1

Selected Statistics from Dr. Charles Stewart’s Declaration

On the “No Match” Between the DMV Records and Voter Registration

All Active “No Match” Valid “No Match” Only Valid
Race/ Registered and Invalid License/ID Card?
Ethnicity Voters License/ID Card!
Per- Nuim- Probability Probability
Number cent ber Percent | Expressed || Number | Percent | Expressed
As % As %
White 1,902,625 | 69.5% |] 33,754 | 53.7% 1.9% 98,113 | 56.6% 5.5%
Black 767,037 | 28.0% || 26,035 | 41.4% 3.6% 69,283 | 40.0% 9.5%
Hispanic 28,214 1.0% 1,240 2.0% 4.8% 2,586 1.5% 10.0%
Asian 18,293 0.7% 538 0.9% 3.2% 1,047 0.6% 6.2%
Other 14,140 0.5% 1,035 1.6% 8.0% 1,668 1.0% 12.9%
Indian 5,345 0.2% 245 0.4% 4.9% 502 0.3% 10.1%
Mixed 164 0.0% 17 0.0% 10.6% 23 0.0% 14.4%
Unknown 9] 0.0% 26 0.0% 29.2% 28 0.0% 31.5%
Total 2,735,909 | 100% |} 62,890 100% 2.4% 173,250 | 100% 6.7%
Notes:

1. 6,346 records are excluded, mostly due to missing Social Security numbers, but also
potentially due to the failure of the SSN+Sex algorithm. It appears that the latter is rare.
These are 0.23% of the records. Surrendered licenses removed from the anaysis, because
the voter would not have the license card to use for ID.

2. 13,353 records are excluded. These are .48% of the records.

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Table 2
Comparison of the Socio-Economic Status and Availability of Automobile Transportation

of Whites and Blacks in South Carolina

Category or Description of Statistic Whites Any Part
Alone Black
Percent of households without a vehicle available 4.0% 15.3%
Percent of individuals below the poverty level 11.1% 28.4%
Median household income, adjusted for inflation $51,141 $28,970
Percent of individuals over 25 who have completed high 86.2% 75.7%
school
Percent of individuals over 25 who have a baccalauriate 27.9% 12.9%
degree

Source: U.S. Census American Community Survey, 5 year composite for 2010.

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Note: Race of the household is determined by the race of the household head.

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Table 3
Votes in the General Assembly on H3003, Session 119 (2011-12) in the House

Number of Number of
Minority White Dem-

Description of Action Being Voting On Democrats ocrats Voting

In the House of Representatives Voting With | With Repub-
Republicans | licans (out of
(out of 29 in 18 in House)
House)

Amendment 1: Miscellaneous minor changes, but might

be seen as restricting the kinds of identification which 0 3

could be used to vote. Adopted 73 to 41

Amendment 2: Broadens the kinds of identification that

would suffice to include identification issued by munic- 12 0

ipality, boards, authority, or other entities of SC. Tabled

83 to 28

Amendment 4: Eliminate Sections 8, 9, and 11. Would

remove notification and other parts that received pre- 2 0

clearance from DOJ, and take effect immediately. Ta-

bled 69 to 42

Amendment 5: Exempt people over 65 or with disabili- 0 0

ties. Tabled 70 to 42

Amendment 8: Establish early voting. Tabled 69 to 41 0 0

Amendment 18: Remove funding. Tabled 69 to 41 0 0

Amendment 26: Allow poll watchers to sit directly be-

hind poll managers who are checking identification. Mo- 0 7

tion to table failed 35 to 77

Amendment 26: Adopted 79 to 31 0 8

Amendment 27: Bill not to take effect until funding is 0 0

approved. Tabled 72 to 42

Motion to Not Continue: Failed 43 to 76 0 2

Table Motion to Re-Commit The Bill: Passed 81 to 36 3 4

Passage of Bill: Passed 74 to 45 0 0

Reconsider Passage of Bill: Tabled 71 to 38 0 0

Adopt Amendment la to Conference Bill: Provisions for

situations where individual does not have valid identifi- 0 0

cation and votes provisional ballot. Sets criteria for

counting the provisional ballot. Adopted 66 to 38.

Cloture: Cloture called 69 to 40 0 0

Conference Report: Adopted 71 to 36 0 0

Source:

http://(www.scstatehouse. gov/billsearch. php?billnumbers=3003 &session=0&summary=B

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South Carolina Legislature Online - Bill Search by Bill Number

Table 4
Votes in the General Assembly on H3003, Session 119 (2011-12) in the Senate

Number of Number of

Description of Action Being Voting On Minority White Dem-

In the Senate Democrats ocrats Voting
Voting With With Repub-
Republicans licans (out of
(out of 9 in 10 in Senate)
Senate)

To Set for Special Order: Failed 25 to 15 0 0

To Set for Special Order: Failed 26 to 14 0 0

To Set for Special order: Failed 26 to 17 0 0

Rule 15A—Cloture: Passed 24 to 17 0 0

Amendment P1: Add student identification. Tabled 27 to 0 1

13

Amendment P3: Hospital patients get absentee ballot. 0 3

Tabled 27 to 13

Amendment P4: Exemption for persons 62 years of age 0 0

or older. Adopted 17 to 25

Amendment P7: Increase the fee for renewal of special 6 8

identifications card to $15.50 for persons from 10 to 16

years of age. Failed 3 to 38

Amendment P482: Authorized representative of a voter Unanimous Unanimous

may request absentee ballot. Counties may establish ad-

ditional early voting centers. Adopted 41 to 0

Amendment P8: Early voting centers may be open 8:00 5 6

am to 9:00 pm Monday through Friday. Adopted 5 to 34

Amendment P9: Signature on absentee ballot must be 6 6

red or blue ink. Failed 2 to 40

Amendment P11: Fee for renewal of identification card 5 9

for those between 10 and 16 would be $11. Failed 3 to

38

Amendment P15: Each county shall establish 3 to 8 ear- 2 5

ly voting centers. Failed 9 to 31

Amendment P14B: Exempt from photo identification 8 10

requirement those born on or before 1 January 1947.

Adopted 39 to 3

2" Reading As Amended: Passed 26 to 15 0 2

3" Reading As Amended: Passed 24 to 15 0 1

To Nonconcur to the House Bill: Passed 28 to 15 7 10

Conference Report: Adopted 26 to 16 0 0

Source:

http://(www.scstatehouse. gov/billsearch. php?billnumbers=3003 &session=0&summary=B

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South Carolina Legislature Online - Bill Search by Bill Number

Appendix A
Search Criteria for Media Coverage of Photo ID Bill

Newspapers:
. Associate Press State Wire

Charlotte Observer
Examiner Online
The Herald
The State

Search Provider: NewsBank

Search terms: Voter ID, Voter ID Bill

Newspaper:
NYT
Search Provider: Lexis
Search terms: “South Carolina Voter ID Bill”

Newspaper:

Post & Courier
Search Provider: Post & Courier Online Archives
Search Terms: Voter ID, Voter ID Bill

The majority of the research was done using NewsBank.

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Appendix B
Time Line for Photo ID Bill
H3003, Act R 54
2010-11 Session of the South Carolina General Assembly

12/07/10House Prefiled

12/07/10House Referred to Committee on Judiciary

01/11/11House Introduced and read first ttme (House Journal-page 3)

01/11/11House Referred to Committee on Judiciary (House Journal-page 3)

01/12/11House Member(s) request name added as sponsor: Atwater

01/18/11House Member(s) request name added as sponsor: Henderson, Quinn, Tallon, Patrick,
J.R.Smith, Hixon, Taylor, Young, Bedingfield, Corbin, Pitts, Chumley, Spires, Pope,
Bikas, Pinson

01/19/11 House Committee report: Favorable with amendment Judiciary
(House Journal-page 2)

01/20/11House Member(s) request name added as sponsor: D.C.Moss

01/25/11House Member(s) request name added as sponsor: Erickson, Willis

01/25/11 House Objection by Rep. Cobb-Hunter and Sellers (House Journal-page 32)

01/25/11House Requests for debate-Rep(s). Clemmons, Crawford, JE Smith, Hart, Govan,

McEachern,
Erickson, Brantley, King, Jefferson, Munnerlyn, Forrester, Parker, Allison, Mack,
Mitchell, Bikas, DC Moss, JR Smith, Hixon, Taylor, Young, RL Brown, GA Brown,
Anderson, Clyburn, Hosey, Brannon, Hayes, Battle, Gilliard, McCoy, Stringer, Sandifer,
Whitmire, VS Moss, Nanney, Bedinfield, Henderson, Allen, Hearn, Dillard, Corbin,
Hardwick, Loftis, Pope, Whipper, Ott, and Vick (House Journal-page 32)

01/26/11 House Member(s) request name added as sponsor: Brady, Herbkersman, Nanney,
Brannon, Whitmire

01/26/11 House Amended (House Journal-page 28)

01/26/11 House Read second time (House Journal-page 28)

01/26/11House Roll call Yeas-74 Nays-45 (House Journal-page 28)

01/27/11 House Read third time and sent to Senate (House Journal-page 34)

01/27/11Senate Introduced and read first time (Senate Journal-page 17)

01/27/11Senate Referred to Committee on Judiciary (Senate Journal-page 17)

02/08/11Senate Motion For Special Order Failed (Senate Journal-page 14)

02/08/11Senate Roll call Ayes-25 Nays-15 (Senate Journal-page 14)

02/09/11Senate Motion For Special Order Failed (Senate Journal-page 23)

02/09/11Senate Roll call Ayes-26 Nays-14 (Senate Journal-page 23)

02/10/11Senate Special order, set for February 10, 2011 (Senate Journal-page 19)

02/10/11Senate Roll call Ayes-26 Nays-17 (Senate Journal-page 19)

02/15/11Senate Debate interrupted (Senate Journal-page 24)

02/16/11Senate Debate interrupted (Senate Journal-page 23)

02/17/11Senate Debate interrupted (Senate Journal-page 12)

02/22/11Senate Debate interrupted (Senate Journal-page 23)

02/23/11Senate Committee Amendment Amended and Adopted (Senate Journal-page 36)

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02/23/11Senate Read second time (Senate Journal-page 36)

02/23/11Senate Roll call Ayes-26 Nays-15 (Senate Journal-page 36)

02/24/11Senate Read third time and returned to House with amendments
(Senate Journal-page 11)

02/24/11Senate Roll call Ayes-24 Nays-15 (Senate Journal-page 11)

03/02/11 House Debate adjourned until Thursday, March 3, 2011 (House Journal-page 49)

03/03/11 House Debate adjourned until Tuesday, March 8, 2011 (House Journal-page 28)

03/08/11 House Debate adjourned until Wednesday, March 9, 2011 (House Journal-page 73)

03/09/11 House Debate adjourned on amendments (House Journal-page 27)

03/10/11 House Debate adjourned on amendments (House Journal-page 30)

03/29/11House Debate adjourned on Senate amendments until Wednesday, March 30, 2011
(House Journal-page 30)

03/30/11House Debate adjourned on Senate amendments until Thursday, March 31, 2011
(House Journal-page 33)

03/31/11 House Debate adjourned on amendments (House Journal-page 35)

04/05/11 House Debate adjourned on Senate amendments until Wednesday, April 6, 2011
(House Journal-page 22)

04/06/11 House Senate amendment amended (House Journal-page 36)

04/06/11 House Returned to Senate with amendments (House Journal-page 36)

04/13/11Senate Non-concurrence in House amendment (Senate Journal-page 35)

04/13/11Senate Roll call Ayes-28 Nays-15 (Senate Journal-page 35)

04/14/11House House insists upon amendment and conference committee appointed
Reps. Clemmons, Lucas, and Merrill (House Journal-page 2)

04/14/11Senate Conference committee appointed McConnell, Campsen, and Scott
(Senate Journal page 21)

04/26/11 House Conference report received and adopted (House Journal-page 38)

04/26/11House Roll call Yeas-71 Nays-36 (House Journal-page 38)

05/11/11Senate Conference report received and adopted (Senate Journal-page 35)

05/11/11Senate Roll call Ayes-26 Nays-16 (Senate Journal-page 35)

05/11/11Senate Ordered enrolled for ratification (Senate Journal-page 47)

05/17/11 Ratified R 54

05/18/11 Signed By Governor

Source:

http://(www.scstatehouse. gov/billsearch. php?billnumbers=3003 &session=0&summary=B
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APPENDIX C -- REMARKS OF SENATOR MCCONNELL
ON CONFERENCE COMMITTEE REPORT

I will try to give you the history of what happened with this Voter ID Bill -- where we
went, how we ended up in conference, what was done before we got to conference, what we got
out of conference, what the Senate has done and where we are.

For those of you who didn't want this Bill, some of the things the House refused to take
may have well played into your hands. On the other hand, those of us who wanted the Bill are
getting something out of it. Senator LAND, one of the things y'all were very opposed to from the
start after it left the Senate — I went over to the Speaker of the House to tell him of our concerns.
I told him absolutely and unequivocally, if they sent us a Bill that had that absentee precinct
eliminated, the Bill was in mortal trouble. I said, "Please do not put that in this Bill." To their
credit, they didn't put that back in and took that out. None of this limitation on absentee voting
precinct is in the Bill.

However, let me tell you what they did do. I'm going to lay all the cards out, because I
have gotten beaten up. Senator CAMPSEN got beaten up. Senator SCOTT got beaten up. Here is
what happened and how we approached conference. The House kept the Bill for something like
five to six weeks. We didn't hear any more communication but communicated back to the
Speaker we needed something on early voting in the Bill -- that provision we needed for early
voting in the Bill. I said, if you don't want to go to a day, put zero in it. The Speaker said, "We'll
go back and talk to my caucus." He did. Apparently, they were not persuaded. So, let me stop
and say that we couldn't get that early voting provision in here; but, we have done the best we
could do to preserve the Senate position. We have taken the Senate Bill and have put early voting
in it and sent it over to the House. We will do our best to keep heat on that part, and, I think, it
passed the Senate unanimously. Here is what I want -- particularly the Democratic members to
hear what happened -- to thank you for your nonconcurrence vote, because you kept something
very bad from happening to the State with this Bill. Those of you who stampeded to concur -- I
want you to hear this, because I want you to see what you almost inflicted on this State and
would have been blamed for back home.

After the Bill went back to the House, there was apparently a media campaign. I suspect
it had to have been coordinated with our state party. In either case, the propaganda pumps began
Monday with the language to vote for the clean Voter ID Bill -- vote to concur with the clean
Bill. Our state party put out an email publication to call us to vote for a clean Bill. As you know,
then the propaganda pumps at the House of Representatives also began spitting forth their jar-
gon, which was that they had provided a clean Bill. We didn't have very long to look at it. But
what we were able to see in the Bill, when I got Senator CAMPSEN and staff, Ms. Anderson,
and others to look at it to see what was in here, we found there had been language inserted in the
Bill that is not clean.

I'm going to go over that with you, because we had to argue -- and I want to tell you Sen-
ator SCOTT did an excellent job of trying to sell it. He just didn't have takers. I don't want any-
body on this side not to think that he didn't speak up and he didn't forcefully try to nail the points.
He argued and helped in improving other parts of the Bill on which we could improve, but this
campaign on this so-called "clean Bill" that the House of Representatives had passed was so bad
and it was orchestrated. Senator CAMPSEN and I had to appear before our county convention

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and get up and explain why we voted to nonconcur. Now, in retrospect, this is the second time
that two major pieces of legislation in this Senate have almost gotten stampeded by either emails
or blogs or whatever.

We almost made the same mistake with the Immigration Bill; we were warned was un-
constitutional. If we hadn't nonconcurred, we wouldn't have had a good illegal Immigration Bill.
Now, we are faced with a similar thing. Let me tell you -- all of you who voted to nonconcur --
what you stopped. In the House Bill, they became concerned as they were writing this. Senator
SCOTT and Senator CAMPSEN, if I get this wrong, please correct me. They were concerned
that the requirement of a birth certificate would amount to a poll tax. For that, they went in and
put in the following language. Then, I want to tell you what this language did, Senator RANKIN,
so you can go back and tell your party chairman what would have occurred if you had not voted
the way you voted. "For the purposes of meeting requirements of this Item 2, the Department of
Motor Vehicles may receive and shall accept, no discretion, from the Bureau of Vital Statistics,
Department of Health and Environmental Control, suitable information verifying the applicant's
name and date of birth." What they did was repeal the requirement "in South Carolina for South
Carolina ID that you had to have a birth certificate and a picture ID". What good is a South Caro-
lina ID if you don't have to prove the birth and the picture to match the face? They put it in. They
put it in as an alternative to requiring a birth certificate to get a South Carolina ID.

So, where is the clean House Bill? Where is the clean Bill? It was in two places. When
we checked with DHEC, they said what? "The birth date and notify the parents?" You open
South Carolina wide up. If you are worried about fraud, you have opened the grand doors to
fraud, to the identity thieves and illegal immigrants or anyone else who could go in with two
pieces of information without a birth certificate and get a South Carolina ID and access benefits
and everything else. Why? Because we were to give the stamp of approval to the House version.
I think if any member of the Senate has read this Bill and seen that language, no one would have
voted for it. It had occurred. They put it in there under the South Carolina ID, then went back and
repeated the mistake again -- and said on the State Registrar -- and goes through the same thing
again -- then says shall accept, giving DMV no discretion. They had to accept from DHEC. I will
tell you, Senator CAMPSEN and I had our state party attempt to make it appear that we were not
loyal Republicans -- that we were not looking out for our side of the question, because we voted
to nonconcur along with another group of you. I saw the press release that said only 15 of us
were true Republicans and that the other group of us who voted to nonconcur were not.

I wanted y'all to have the backdrop to what was going on before we ever approached the
conference table; but, now, let me tell you about this so-called clean Bill of theirs and what else
they did. They added in here a section. I think Senator SCOTT brought this to my attention --
that they were involved in poll-watcher amendments. This was supposed to be a clean Voter ID
Bill and there's a new section of the law and I won't even read it. I will just tell you what it effec-
tually did. The poll-watcher couldn't stand behind the table -- couldn't stand to the side of the
person and look -- had to sit directly behind them. How can you see when you've got to sit di-
rectly behind somebody? When we argued the point, they said, "Oh, no." I said, "No." I'm quot-
ing it to you. I thought you said this was a clean Bill. What did that have to do with Voter ID? It
didn't have a thing to do with it, but it is so-called out on the blogs and with the emails that it was
a clean Voter ID Bill.

Then, in their zeal to write their Bill -- they had certain portions of the Bill going into ef-
fect before Section 5 review. The problem was the sections that would go in effect on Section 5
review aren't subject to Section 5 review. If they never got approved, how could they ever go in-

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to effect? I hope all of you who voted to concur listen to this, so it is a good lesson for future
complex legislation not to stampede it in and to look at it, because another section of the Bill
made everything go into effect on an effective date which would have been before we got the
approval of the Justice Department.

Now, what items would the House not accept of our version? They would not accept our
government ID section. We tried and tried. They would not accept that. They would not accept
our early voting. They accepted and we got them to agree to all of our language on early voting.
This is something Senator CAMPSEN worked very hard on, which was the language that set up
the residency issues that would have to be judged on the question of an illegal ballot. The House
agreed to put that into the Bill. We had to pick up -- I believe it was language from our section of
the Bill on severability. We straightened out the language. The House picked up most of our lan-
guage on the written procedures at the polls — we made sure that people's rights on a challenged
ballot were protected, and we did everything we could. We have the outreach in the Bill, the ed-
ucation programs. We had to accept House language on the South Carolina ID, because we were
wrong on seven years. They were right on the five-year time period. We picked up their interests
because those interested told us they wanted early voting. We put their provisions in the Bill and
sent them back, so the people of South Carolina could have an opportunity to have early voting.
All the other stuff on Voter ID is in here.

I know some of you are not going to vote for it. I understand that. We have debated this
thing and debated it. We have tried, in good faith, to extend the olive branch. We went forward.
We didn't object at all to early voting. We have tried to push our case forward; but, particularly
to the Republicans that are out there who look at this group of us who voted to nonconcur to try
to straighten this Bill up, I wanted to make sure that the story was told, because we were subject-
ed, in my opinion, to a propaganda campaign aimed at trying to make us look weak-kneed and
all of that when most legislation goes through the process. It is just an unhealthy environment
when you are trying to battle the House to have somebody come in and undermine your position.
That is what was happening. We should have been able to go to that table with a more united
front and said, "This is what our Senate position is." They knew some of the weaknesses we had
on this. We did the best we could under the circumstances. Anyway, when we face off on reap-
portionment, it will be easier.

I'm wrapping up. Again, I want to say I know the Bill didn't come out like you wanted it,
but I wanted to make sure you were aware that Senator SCOTT did an excellent job articulating
his position. He was very knowledgeable and very firm about it. He was very up-front. He
wouldn't sign the report. I respect that, and he warned them of some things they put in this Bill
that may come back to haunt them that should have been put in from the Senate side, but we did
the best we could do. Senator CAMPSEN, I want to thank you. We worked very hard on this
Bill. Both of you were very active participants in the debate with the House members. I want to
thank you for hanging in there, despite the political roughness on this to get a good Bill. Had we
not nonconcurred and gone to conference, we would have ended up with a flawed law. Instead of
making sure we don't have fraud in this State, it would have opened it to fraud, because we
would have removed a requirement for a birth certificate and a photo ID on a South Carolina ID.
I know not one of you intended it to happen, but it should be a good lesson to you about having
cheerleaders from the House and outside on the street telling you to blindly vote for a Bill and
not find out what is in that Bill. It was a terrible provision along with the poll watchers. The rec-
ord is absolutely clear. It was not a clean Voter ID Bill. It is their language -- their amendment. It
was never in the Senate Bill and it was their mistake. Thank you for helping us to clean that up.

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Source: Senate Journal 11 May 2012, pp. 32-3

APPENDIX D
DMV Paperwork

¢ School Records - Records must be from S.C. school (current or prior school year).
- Student ID (address not required).

- Report Card.
- Letter or contract from Home Schooling Association.

- Official letter from individual’s school or school district on school or district letter-
head.

- Certified transcript.

- Diploma from S.C. school (child has graduated within the last school year - address
not required).

* Out-of-state or in-state tuition bill with applicant’s S.C. physical address.
¢ Current employment records (no more than 90 days old). Records must be from S.C.
employer or have S.C. address for applicant on records from an out of state employer.
- Letter on employer letterhead.

- Payroll stub showing S.C. withholdings.

* Current utility bill no more than 90 days old. A utility bill is specific to services for your
residence. Examples are electric, water, sewage, cable, and land line phone lines. Cell
phone and satellite bills are not acceptable.

¢ S.C. Medicaid card

¢ Parolee Card or letter from parole officer (no more than 90 days old).

* Home mortgage monthly statement (no more than 90 days old), or deed.

¢ Current S.C. Weapon’s Permit

* County Tax Bill for home (not vehicle) or Property Tax Receipt for home, not vehicle
(current or preceding calendar year)

¢ State or Federal Tax records.

- Income tax returns for current or prior year are acceptable including electronic tax
file or W2.

- Ifapplicant listed as dependent on SC tax return that is presented as proof of resi-
dency, proof applies to dependent also.

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¢ Current Military Orders detailing active duty assignment in S.C.

¢ Current letter from Military Base with the commander verifying duty station in S.C.

¢ S.C. bank statement or signed letter (must be on bank letterhead) showing name of appli-
cant and S.C. physical address (no more than 90 days old).

¢ Social security check showing name and S.C. physical address of applicant (no more than
90 days old).

¢ Insurance documentation:

- Current automobile or life insurance bill (no more than 90 days old — cards or poli-
cles are not accepted).

- Current homeowners insurance policy or bill (no more than 90 days old).

- Current health insurance statement (no more than 90 days old — cards or policies are
not accepted).

¢ Letter from director of S.C. social welfare institution (homeless shelter, battered women’s
shelter, halfway house, group home, orphanage, etc.) stating applicant is resident of facil-
ity (no more than 90 days old).

¢ U.S. Postal Service change of address confirmation letter or postmarked U.S. mail with
forwarding address label.

¢ Birth Certificate with birth/file number and registrar’s signature issued by the county or
Bureau of Vital Statistics.

¢ Birth Certificate from U.S. Territory (Must be translated if not in English) - Puerto Rico
Guam, U.S. Virgin Islands and U.S. Samoa.

¢ Delayed birth certificate — If birth certificate is not issued at time of birth, customer can
apply for birth certificate from Bureau of Vital Statistics.

¢ Current U.S. Passport or U.S. Passport that has not been expired more than 10 years.

¢ Current U.S. Passport Card

* Certificate of Naturalization -- USCIS Form (N-550 or N-570).

¢ U.S. government issued Consular Report of Birth Abroad.

* Certificate of Citizenship (N-560 or N-561).

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NOTE: If the applicant’s birth certificate shows that he was not born in the United States,
the applicant must ALSO provide an additional document from the above list proving U.S.
citizenship.

‘IMPORTANT: If name has changed since birth, applicant must present all legal documents

(i.e., adoption records, marriage certificate or license issued by state/county records office,

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certificate of naturalization, and court ordered name change) supporting all name changes
from the name which appears on the birth certificate or proof of identity to the present.

¢ Social Security Card.

¢ SSA-1099 - “Survivor Benefit Form”.

¢ U.S. Military Photo ID Card when SSN is present on card (active, retired or reservist mil-
itary status DOD, ID, DD-214).

¢ Current military dependent LD. card.

¢ U.S. Uniform Services Identification and Privilege Card (DD 1173) must include photo-
graph.

¢ Letter from Social Security Administration (no more than 90 days old).*

¢ Medicare letter from Social Security Administration *

¢ Medicare Card*

¢ Payroll Stub must include employer’s name and applicant’s name. *

¢ W-2 Form must include employer’s name, address, and applicant’s name. *
“NOTE — DMV is required to perform online verification.

Source: MV-93, Obtained at

http://www.scdmvonline.com/dmvnew/default.aspx?n=accepted forms of identification

[Accessed 25 May 2012]

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